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    1   HAINES LAW GROUP, APC
        Paul K. Haines (SBN 248226)
    2      phaines@haineslawgroup.com
        Tuvia Korobkin (SBN 268066)
    3      tkorobkin@haineslawgroup.com
        Sean M. Blakely (SBN 264384)
    4      sblakely@haineslawgroup.com
        222 N. Sepulveda, Suite 1550
    5   El Segundo, California 90245
        Telephone: (424) 292-2350 / Facsimile: (424) 292-2355
    6

    7   Attorneys for Plaintiffs and the Certified Classes
        [Additional counsel listed on following page]
    8

    9                         UNITED STATES DISTRICT COURT
   10                       SOUTHERN DISTRICT OF CALIFORNIA
   11

   12
      ENRIQUE VAZQUEZ, SERGIO                       Lead Case No. 16-CV-02749-WQH-BLM
      ALFONSO LOPEZ, and MARIA                      (Consolidated w/Case No. 17-cv-00077-
   13 VIVEROS, individually and on behalf            WQH-BLM)
   14 of themselves and others similarly
      situated,                                     CLASS ACTION
   15
                     Plaintiffs,                    DECLARATION OF MICHAEL D.
   16                                               SINGER IN SUPPORT OF MOTION
   17   v.                                          FOR ORDER GRANTING FINAL
                                                    APPROVAL OF CLASS ACTION
   18                                               SETTLEMENT AND ENTERING
      KRAFT HEINZ FOODS COMPANY,
   19 a Pennsylvania Corporation, and               JUDGMENT
      DOES 1 through 100, inclusive,                DATE:         March 20, 2020
   20
                                                    TIME:         9:00 a.m.
   21                Defendants.                    DEPT:         Courtroom 14B
                                                    JUDGE:        Hon. William Q. Hayes
   22
                                                    [No Oral Argument Unless Requested
   23                                               By Court]
   24                                               Filed:        September 8, 2016
                                                    Certified:    October 9, 2018
   25

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    1   COHELAN KHOURY & SINGER
        Isam C. Khoury (SBN 58759)
    2      ikhoury@ckslaw.com
        Michael D. Singer (SBN 115301)
    3      msinger@ckslaw.com
        Diana M. Khoury (SBN 128643)
    4      dkhoury@ckslaw.com
        Marta Manus, (SBN 260132)
    5      mmanus@ckslaw.com
        605 C Street, Suite 200
    6   San Diego, CA 92101
        Telephone: (619) 595-3001 / Facsimile: (619) 595-3000
    7

    8 LAW OFFICES OF SAHAG MAJARIAN II
      Sahag Majarian, II (SBN 146621)
    9    sahagii@aol.com
      18250 Ventura Blvd.
   10 Tarzana, CA 91356
      Telephone: (818) 609-0807 / Facsimile: (818) 609-0892
   11

   12   Attorneys for Plaintiffs and the Certified Classes
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    1          I, Michael D. Singer, declare as follows:
    2          1.      I am the Managing Partner at the law firm of Cohelan Khoury &
    3   Singer, co-counsel of record for Plaintiffs and the Certified Classes. I submit this
    4   declaration in support of Plaintiffs’ Motion for an Order Granting Final Approval of
    5   Class Action Settlement. The following facts are within my personal knowledge and
    6   if called to testify I could and would competently testify to them.
    7          2.      I am a 1984 Hastings graduate, admitted to the California State Bar in
    8   1984 and the Colorado State Bar in 2001. I have been admitted to practice before the
    9   following courts: U.S. Supreme Court; Ninth Circuit Court of Appeals; Southern,
   10   Central, Northern, and Eastern Districts of California; and all California State
   11   Courts.
   12          3.      In 1981, Timothy D. Cohelan and Isam C. Khoury formed Cohelan &
   13   Khoury, a Partnership of Professional Law Corporations, and within a few years
   14   began to focus on class actions. I joined Cohelan & Khoury in 2000 and was named
   15   partner in 2003. In 2009, Cohelan & Khoury became Cohelan Khoury & Singer. Our
   16   firm represents plaintiffs in complex, class and representative action litigation,
   17   including wage and hour, labor and employment, antitrust, consumer protection,
   18   construction defect and other public interest type class and representative actions.
   19   Attached as Exhibit 4 is a copy of the Cohelan Khoury & Singer Firm Resume.
   20          4.      I am AV rated by Martindale-Hubbell, as are many attorneys in our
   21   firm. I was named to the Daily Journal 2012, 2013, and 2018 list of Top California
   22   Labor and Employment Attorneys and selected to the Southern California Super
   23   Lawyers in 2010, 2012-2019. Isam Khoury, a founding Partner of the firm, along
   24   with Partner Diana M. Khoury have also been selected by their peers based on
   25   ethics, experience and reputation as Super Lawyers in Civil Litigation by the
   26   Southern California Super Lawyers Magazine for the years 2010 through 2018.
   27   ///
   28   ///
                                                       1
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    1          5.      Cohelan Khoury & Singer has been certified by the State Bar of
    2   California to provide the Mandatory Continuing Legal Education activity entitled
    3   “Litigating California Class Actions” and has conducted MCLE certified seminars
    4   on this topic. Senior Partner, Timothy D. Cohelan, is the author of Cohelan on
    5   California Class Actions (1997-2019, updated annually), part of Thomson Reuters
    6   Expert Series. I am a contributing author on the CEB publication California Wage
    7   and Hour Law: Compliance and Litigation (2010-2019, updated annually), in which
    8   I wrote the opening chapter overview on California Wage and Hour laws, including
    9   the public policy underpinnings for those laws, and the PAGA Claim chapter. I have
   10   served as a columnist for the California State Bar, Litigation Section on wage and
   11   hour litigation and have contributed articles on wage and hour and class action
   12   issues through the years to numerous California publications. I typically lecture
   13   several times per year for continuing education courses on wage and hour and class
   14   action issues at events in San Diego, Orange County, Los Angeles, and San
   15   Francisco. For over twelve years, I served as wage and hour amicus co-chair and
   16   liaison for the California Employment Lawyers Association, drafting, reviewing,
   17   and coordinating amicus filings on wage and hour issues in the California Supreme
   18   Court and Courts of Appeal. I have been engaged in the practice of labor and
   19   employment law since 2000, handling well over 200 wage and hour class actions
   20   and several individual labor cases. I have litigated several types of employment
   21   actions, including complex ERISA employee welfare benefit plan cases, as well as
   22   wage and hour class actions before Federal and State Courts in California. In 2014, I
   23   tried a wage and hour class action involving claims for illegally deducted wages and
   24   unreimbursed expenses in the matter of Dilts v Penske Logistics LLC, Inc. I
   25   successfully appealed the trial court ruling in Dilts finding state laws preempted by
   26   the FAAAA for truck drivers. I have participated in over 50 appellate cases and
   27   argued writs and appeals before several California District Courts of Appeal,
   28   arguing for plaintiffs on rehearing in Brinker International Inc. v. Superior Court
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    1   before the Fourth District Court of Appeal, as well as federal appeals in the Second,
    2   Third, and Ninth Circuit Courts of Appeals. In addition, I have drafted numerous
    3   appellate briefs as the appellant, respondent, or amicus curiae in employment class
    4   and individual actions. As co-Class Counsel in Brinker Restaurant Corp. v. Superior
    5   Court [formerly reported at (2008)165 Cal.App.4th 25], I argued before the Fourth
    6   District Court of Appeal in May 2008 on transfer from the California Supreme
    7   Court, and co-authored the successful Petition for Review. My firm has successfully
    8   tried class cases, obtained appellate reversals of class certification denials (Hicks v.
    9   Kaufman and Broad, (2001) 89 Cal.App.4th 908), certified multiple consumer and
   10   wage and hour class.
   11          6.      As a part of our overall firm philosophy lawyers perform community
   12   service and pro bono work. Firm volunteer work includes service through the Legal
   13   Aid at Work, San Diego Volunteer Lawyer Program, the San Diego County Bar
   14   Foundation and Consumer Attorneys of San Diego. I have served on the Legal Aid
   15   at Work Board of Directors since 2011. Mr. Cohelan served as the Chair of the San
   16   Diego Volunteer Lawyers Program from 2015-2018, and currently sits on the Board
   17   as past Chair. He completed 24 years of volunteer judicial service as a Judge Pro
   18   Tem of the San Diego Superior Court. Since admission to the California Bar. Partner
   19   Diana M. Khoury has been a member of the San Diego County Bar Association,
   20   Consumer Attorneys of San Diego, Consumer Attorneys of California, and
   21   American Association for Justice serving and chairing various committees through
   22   the years for these organizations. For six years from 2010 through 2015, Ms. Khoury
   23   served on the Board of Directors for Consumer Attorneys of San Diego. Since 2013,
   24   Ms. Khoury has actively served on the Board of Directors for the San Diego County
   25   Bar Foundation, the 501(c)(3) charitable arm of the San Diego County Bar
   26   Association providing access to justice to the underserved and impoverished in the
   27   San Diego County region. Partner Jeff Geraci is a past recipient of the Wiley W.
   28   Manuel Award for Pro Bon Service. Marta Manus, Associate, has volunteered as a
                                              3
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    1   Court Appointed Special Advocate (CASA) at Voices for Children, a private
    2   nonprofit organization serving children in the foster care system, since March 2015.
    3   Associate Kristina De La Rosa has volunteered for the California Rule Legal
    4   Assistance, Inc. Our firm’s pro bono victories include a settlement which prohibits
    5   the City of San Diego from targeting homeless people for illegal lodging tickets
    6   under Penal Code Section 467(j). (Spencer v. City of San Diego, USDC Case No
    7   04CV-2314 BEN (WMC).) The Spencer settlement had the effect of increasing the
    8   number of available shelter beds in San Diego.
    9          7.      Cohelan Khoury & Singer has been appointed certified Class Counsel
   10   in the following contested proceedings: Aguilar v. Atlantic Richfield, et al., San
   11   Diego Superior Court Case No. 00700810; Andino v. Kaiser Foundation Hospitals,
   12   Alameda Superior Court Case No. RG11580548; Arellano, et al. v. Container
   13   Connection of Southern California, Inc., Los Angeles Superior Court Case No.
   14   BC500675;       BANK     OF     AMERICA        WAGE      AND     HOUR       EMPLOYMENT
   15   PRACTICES LITIGATION, United States District Court, District of Kansas MDL
   16   Case No. 2138 (FLSA Condition Certification); Czuchaj v. Conair Corporation,
   17   United States District Court, Southern District of California Case No. 13CV1901;
   18   Dilts, et al. v. Penske Logistics, L.L.C., et al., United States District Court, Southern
   19   District of California Case No. 08CV0318; Englert, et al. v. AT&T Wireless
   20   Services, Inc., et al., Circuit Court of the Second Circuit, State of Hawaii Case No.
   21   02-1-0074; Evans v. Washington Mutual Bank, Orange County Superior Court Case
   22   No. 02CC15415; Filion v. Ethan Allen Retail Inc., United States District Court,
   23   Southern District of California Case No. 05CV2340; Gerard v. Les Schwab Tire
   24   Centers of California, Inc., Sacramento Superior Court Case No. 2007-30000003;
   25   Grana, et al. v. PICO Enterprises, Inc. dba Phyle Inventory Control Specialist and
   26   PICS L.A.S.C. Case No. BC472891; Gutierrez v. Save Mart Supermarkets San
   27   Mateo Superior Case No. CIV530955; Wilcox v Albertsons, San Diego Superior
   28   Court Case No. GIC833922; Gonzalez, et al. v. Freedom Communications, Inc.
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    1   d/b/a The Orange County Register, Orange County Superior Court Case No.
    2   03CC08756; Graham, et al. v. Overland Solutions, Inc., United States District
    3   Court, Southern District of California Case No. 10CV0672 (FLSA Conditional
    4   Certification); Hicks v. Kaufman and Broad Home Corp., Los Angeles Superior
    5   Court Case No. B198414; Hohnbaum, et al. v. Brinker Restaurant Corporation, et
    6   al., San Diego Superior Court Case No. GIC834348; KEMP, et al. v. CSEA, et al.,
    7   Circuit Court of the First Circuit, State of Hawaii Case No. 98-3815-08; LIBERTY
    8   MUTUAL OVERTIME CASES, Los Angeles Superior Court Case No. JCCP 4234;
    9   Mitchell, et al. v. Acosta, Inc., dba Acosta Sales and Marketing Company, United
   10   States District Court, Central District of California Case No.11CV07196 (FLSA
   11   Conditional Certification); Santana v. Rady Children’s Hospital-San Diego, San
   12   Diego Superior Court Case No. 37-2014-00022411; Schaffer v. Rady Children’s
   13   Hospital-San Diego, San Diego Superior Court Case No. 37-2015-00022978;
   14   Schneider, et al. v. Catholic Healthcare West, San Francisco Superior Court Case
   15   No. CGC-10-506243; Salucci v. Amada Senior Care, Inc., Orange County Superior
   16   Court Case No. 37-2015-00778081; Smith v. California Pizza Kitchen, San Diego
   17   Superior Court Case No. 37-2008-00083992; STEROID HORMONE PRODUCT
   18   CASES, Los Angeles Superior Court Case No. JCCP 4363; Stevenson Aibangbee v.
   19   Victoria Apartments, et al., Los Angeles County Superior Court Case No.
   20   BC299498; Swift v. Liebert Corp., Orange County Superior Court Case No.
   21   00CC04588; Sylvia, et al. v. Wells Fargo Home Mortgage, Inc., Orange County
   22   Superior Co Case No. 03CC05747; Vaquero v. Ashley Furniture Industries, Inc., et
   23   al., United States District Court, Central District of California Case No. 12CV8590;
   24   Vaquero v. Stoneledge Furniture LLC, Los Angeles Superior Court Case No.
   25   BC522676; Vazquez v. Kraft Heinz Foods Company, Unites States District Court,
   26   Southern District of California Case No. 16-CV-02749; Watson v. Raytheon
   27   Company, United States District Court, Southern District of California Case No.
   28   1OCV0634; and Weigele v. FedEx Ground Package System, Inc., United States
                                           5
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    1   District Court, Southern District of California Case No. 06CV1330, among others,
    2   as well as being appointed Class Counsel in connection with well over 1,750 class
    3   action settlements.
    4          8.      As Class Counsel, Cohelan Khoury & Singer has actively commenced,
    5   prosecuted and concluded numerous state and federal class actions. Since 2016,
    6   Cohelan Khoury & Singer has played a central role in the resolution of the following
    7   class action cases which have received final approval by the Court: (a) Arellano, et
    8   al. v. Container Connection of Southern California, Inc., Los Angeles Superior
    9   Court, Case No. BC500675, Hon. Anne I. Jones; (b) Castro v. Home Depot U.S.A.,
   10   Inc., Los Angeles County Superior Court, Case No. BC577885, Hon. Elihu M.
   11   Berle; (c) Czuchaj v. Conair Corporation, United States District Court, Southern
   12   District of California, Case No. 13-CV-1901 BEN, Hon. Roger T. Benitez; (d)
   13   Gardiner v. TSYS, United States District Court, Central District of California, Case
   14   No. 18-cv-00415, Hon. David O. Carter; (e) Grana v. PICO Enterprises, Inc., Los
   15   Angeles County Superior Court, Case No. BC472891, Hon. Stephanie M. Bowick;
   16   (f) Gutierrez v. Save Mart Supermarkets, San Mateo County Superior Court, Case
   17   No. CIV530955, Hon. Marie S. Weiner; (g) Hernandez v. Workforce Enterprises
   18   WFE, Inc., Los Angeles County Superior Court Case No. BC590913, Hon. Elihu M.
   19   Berle; (h) Hicks v. Poway Academy of Hair Design, Inc., San Diego County
   20   Superior Court, Case No. 2014-00026517, Hon. Ronald L. Styn; (i) Klein v. Loomis
   21   Armored US, LLC, San Bernardino County Superior Court, Case No.
   22   CIVDS1704547, Hon. David Cohn; (j) Laureano v. The Art of Shaving, Los Angeles
   23   Superior Court, Case No. BC550093, Hon. Amy D. Hogue; (k) Magdaleno v. Shelly
   24   Automotive, LLC, Orange County Superior Court Case No. 2013-0043958, Hon.
   25   Kim. G. Dunning; (l) McGrath, et al. v. Wyndham Resort Development Corporation,
   26   et al., United States District Court, Southern District of California, Case. No. 15-
   27   CV-1631 JM, Hon. Jeffrey T. Miller; (m) Mena v. Wolfgang Puck Catering, Los
   28   Angeles County Superior Court Case No. BC582743, Hon. John Shepard Wiley, Jr.;
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    1   (n) Morales v. The Los Angeles Country Club, Los Angeles Superior Court, Case
    2   No. BC566493, Hon. William F. Highberger; (o) Nijmeh v. Bon Appetit
    3   Management Company, Inc., Santa Clara County Superior Court, Case No.
    4   16CV294127, Hon. Thomas E. Kuhnle; (p) Plascencia v. Aramark Services, Inc.,
    5   Santa Clara County Superior Court, Case No. 2015-1-CV-288310, Hon. Brian C.
    6   Walsh; (q) Plimpton v. Gordon Trucking, Inc., San Bernardino County Superior
    7   Court, Case No. CIV-DS-1511918, Hon. Donald Alvarez; (r) Raya v. Amazon,
    8   United States District Court, Northern District of California, Case No. 15-CV-02005
    9   MMC, Hon. Maxine M. Chesney; (s) Rivas v. ESA Management, United States
   10   District Court, Central District of California, Case No. 14-CV-5767, Hon. Dale S.
   11   Fischer; (t) Rodriguez v Healthcare Partner Medical Group, Inc., Los Angeles
   12   Superior Court, Case No. BC541313, Hon. Kenneth Freeman; (u) Ryan v. Dignity
   13   Health, Sacramento County Superior Court Case No. 2013-00147371, Honorable
   14   Alan G. Perkins; (v) Santana v. Rady Children’s Hospital-San Diego, San Diego
   15   Superior Court Case No. 37-2014-00022411, Hon. Joel R. Wohlfeil; (w) Schaffer v.
   16   Rady Children’s Hospital-San Diego, San Diego Superior Court Case No. 337-
   17   2015-00022978; Hon. Joel R. Wohlfeil; (x) Schneider v. Catholic Healthcare West,
   18   San Francisco Superior Court, Case No. CGC-10-506243, Hon. Angela Bradstreet;
   19   (y) Schwartz v Bank of the West, San Francisco Superior Court, Case No. CGC-14-
   20   538955, Hon. Harold E. Kahn; (z) Syed v. M.I. Swaco, United States District Court,
   21   Eastern District of California, Case No. 12-CV-01718 DAD, Hon. Dale A. Drozd;
   22   (aa) Vaquero, et al. v. Stoneledge Furniture, LLC, Los Angeles Superior Court Case
   23   No. BC522676, Hon. Elihu M. Berle; (bb) Walsh v. Cedars-Sinai Medical Center,
   24   Los Angeles County Superior Court Case No. BC487290, Hon. William F.
   25   Highberger; among others.
   26          9.      We consider ourselves experienced and qualified to evaluate class
   27   claims and viability of the defenses. We are well-versed in the facts of this case and
   28   the law that applies to the claims asserted. That experience and those qualifications
                                                   7
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     1   allowed our firm to assist in achieving an efficient resolution of the claims in this
     2   matter, which we believe is in the best interest of the Class. The length and risks of
     3   trial and the perils of litigation that affect the value of the claims were all carefully
     4   weighed. In addition, the affirmative defenses asserted by Defendants, the
     5   uncertainty of maintaining Rule 23 certification, the prospect of a potential adverse
     6   summary judgment ruling, the difficulties of complex litigation, the lengthy process
     7   of establishing specific damages and various possible delays and appeals, were also
     8   carefully considered by our firm in arriving at the proposed Settlement.
     9          10.      The proposed Settlement was presumed fair, adequate and reasonable,
    10   and preliminarily approved on August 2, 2019. On November 15, 2019, the Court-
    11   approved Class Notice was mailed via first-class U.S. mail to 3,062 members of the
    12   Class to inform them of their rights and benefits under the Settlement, which
    13   included the estimated amount of each of their Settlement Payments if they did not
    14   return a request for exclusion, and of the January 14, 2020 postmark deadline to
    15   return a request for exclusion or an objection to the Settlement. Through the present,
    16   no objections have been submitted by any Class Member and one person requested
    17   exclusion.
    18          11.      Class Counsel is convinced the Settlement is in the best interest of the
    19   Class based on a detailed knowledge of the issues presented in this action and the
    20   negotiations. The length and risks of trial and the perils of litigation that affect the
    21   value of the claims were all carefully weighed. In addition, the affirmative defenses
    22   asserted by Defendants, the uncertainty of maintaining Rule 23 certification, the
    23   prospect of a potential adverse summary judgment ruling, the difficulties of complex
    24   litigation, the lengthy process of establishing specific damages and various possible
    25   delays and appeals, were also carefully considered by Class Counsel in arriving at
    26   the proposed Settlement.
    27          12.      By this motion, Class Counsel seeks an Order of Final Approval of
    28   Class Action Settlement, as well as an award of attorneys’ fees in the sum of
                                                8
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     1   $1,000,000 representing 33.33% of the Gross Settlement Amount. This sum is
     2   reasonable and appropriate based on the substantial hours expended to achieve this
     3   result, the litigation risks and complexities of prosecuting these types of cases, the
     4   contingent nature of any fee, their experience in handling cases of this type, the fees
     5   commonly awarded in these cases, and the vindication of the Class’ rights by
     6   securing a $3,000,000 non-reversionary Settlement, paying the 3,061 Class
     7   Members on average $542.77, with the highest payments of $2,386.02
     8          13.    To produce the favorable results on behalf of the Class, Class Counsel
     9   has expended 2,374.6 attorney and para-professional hours since the inception of
    10   this case through the present resulting in a lodestar fee of $1,230,315.00. Attached
    11   as Exhibit 1 is a true and correct copy of the Summary of Hours and Lodestar Fee by
    12   the attorneys representing Plaintiffs and the Class, including our co-counsel, Haines
    13   Law Group and Law Offices of Sahag Majarian II.
    14          14.    Class Counsel undertook all of the risks of this litigation on a
    15   contingent fee basis – the potential risks of surviving dispositive motions, obtaining
    16   certification, and maintaining it, proving liability and damages, prevailing in the
    17   “battle of the experts,” winning at trial, and surviving post-trial motions and appeals
    18   – at the same time that they faced the significant risk that they could litigate this case
    19   for years, expend many thousands of hours of work, at great expense, and never be
    20   paid. To date, our firm has received no compensating or reimbursement of costs in
    21   litigating this Action for over 3 and one-half years.
    22          15.    Numerous state and federal courts in California routinely approve fee
    23   requests equal to or more than the amount sought here.
    24          California cases: Estrada, Alvarez vs. Burrtec Waste Group, Inc., et al., San
    25   Diego Super. Ct., Case No. 37-2011-00096268-CU-OE-CTL (Hon. Joel M.
    26   Pressman – approving attorneys’ fees of 33-1/3% of $2,789,000 in a pre-certification
    27   meal violation class action); White v. Edco Disposal Corp., et al., San Diego Super.
    28   Ct., Case No. 37-2011-00088803-CU-OE-CTL (Hon. Judith Hayes – approving
                                            9
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     1   attorneys’ fees of 33-1/3% of $3,500,000 in a pre-certification meal violation class
     2   action); In re Ampicillin Antitrust Litig., 526 F. Supp. 494 (D.D.C. 1981) (45%);
     3   Beech Cinema, Inc. v. Twentieth-Century Fox Film Corp., 480 F. Supp.
     4   1195(S.D.N.Y. 1979), aff’d, 622 F.2d 1106 (2d Cir. 1980) (in a Sherman Act case,
     5   approximately 53%); Parker v. City of L.A., 44 Cal. App. 3d 556, 567-68 (1974)
     6   (33.3%); Tokar v. GEICO, No. GIC 810166 (San Diego County Super. Ct. July 9,
     7   2004) (approving award of attorney’s fees of 33-1/3% of recovery in a wage and
     8   hour class action); Marroquin v. Bed Bath & Beyond, No. RG04145918 (Alameda
     9   County Super. Ct. June 22, 2004) (in a wage and hour class action, 33.3%); Crandall
    10   v. U-Haul Int’l, Inc., No. BC178775 (Los Angeles County Super. Ct. Aug. 17, 2001)
    11   (in a wage and hour class action, 40%); Davis v. The Money Store, Inc., No.
    12   99AS01716 (Sacramento County Super. Ct. Dec. 26, 2000) (in a wage and hour
    13   class action, awarding 33.3% of $6,000,000 settlement); Kenemixay v. Nordstrom,
    14   Inc., (L.A. County Super. Ct., No. BC318850) (50% award); Albrecht v. Rite Aid
    15   Corp., No. 729219 (San Diego County Super. Ct.) (35%).
    16          Federal cases: Wren v. RGIS Inventory Specialists, No. C-06-05778 JCS,
    17   2011 WL 1230826, at *28 (N.D. Cal. April 1, 2011) (approving fee that amounted to
    18   42% of common fund in wage and hour class action); Vasquez v. Coast Valley
    19   Roofing, 266 F.R.D. 482, 491-93 (wage-and-hour action putative class-action
    20   settlement where court approved award of attorneys’ fees in the amount of 33.3% of
    21   the common fund); In re Heritage Bond, 2005 WL 1594389, at *20 (C.D. Cal. June
    22   10, 2005) (award of attorneys’ fees in the amount of one-third of $27,783,000-the
    23   Settlement Fund; a 34% award is fair and reasonable); Fernandez v. Victoria Secret
    24   Stores, LLC, No. CV 06-04149 MMM (SHx), 2008 WL 8150856, at *16 (C.D. Cal.
    25   July 21, 2008) (awarding 34% in fees of common fund comprised of gift cards);
    26   Martin v. FedEx Ground Package Sys., Inc., No. C06-6883 VRW, 2008 WL
    27   5478576, at *8 (N.D. Cal. Dec. 31, 2008) (truck driver meal break class action
    28   where the court approved attorneys’ fees of 1/3 of common fund); Singer v. Becton
                                                  10
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     1   Dickinson & Co., No. 08-CV-821-IEG (BLM), 2010 WL 2196104, at *8 (S.D. Cal.
     2   Jun. 1, 2010) (noting that the amount of 33.33% of the common fund for a wage and
     3   hour class action settlement “falls within the typical range of 20% to 50% awarded
     4   in similar cases”).
     5          16.    Within the past several years, my firm has received an award of one-
     6   third (33 13%) of the common fund in the following state and federal class and
     7   representative action settlements:
     8          (1) Watson v. Raytheon Company, USDC Southern District, Case No. CV-
       10-cv-00634 LAB RBB (Hon. Larry B. Burns – awarding attorneys’ fees of
     9 $666,666.67, 33-1/3% of a $2,000,000 settlement in a certified misclassification
       class action);
    10         (2) Dirienzo v. Dunbar Armored, Inc., USDC Southern District, Case No.
       CV-09-2745 DMS JMA, (Hon. Dana M. Sabraw – awarding attorneys’ fees of
    11 $500,000, 33-1/3% of $1,500,000 settlement in a pre-certification expense
       reimbursement, rest and meal period class action);
    12

    13           (3) Estrada, Alvarez vs. Burrtec Waste Group, Inc., et al., San Diego
         Superior Court, Case No. 37-2011-00096268-CU-OE-CTL (Hon. Joel M. Pressman
    14   – approving attorneys’ fees of 33-1/3% of $2,789,000 in a pre-certification meal
         violation class action);
    15
                 (4) Luareno v. The Art of Shaving, Los Angeles Superior Court, Case No.
    16   BC550093 (Hon. Amy D. Hogue – approving attorneys’ fees of 33-1/3% of
         $950,000 in a pre-certification wage and hour class action);
    17           (5) Ramirez v. Kirkhill-TA CO., Los Angeles Superior Court, Case No.
         BC557207 (Hon. Kenneth Freeman – approving attorneys’ fees of 33-1/3% of
    18   $1,100,000 in a pre-certification wage and hour class action);
    19           (6) Gutierrez v. Benchmark, San Diego Superior Court, Case No. 2014-
         00032287 (Hon. Joel M. Pressman – approving attorneys’ fees of 33-1/3% of
    20   $350,000 in a pre-certification wage and hour class action);
                 (7) Morales v. The Los Angeles Country Club, Los Angeles Superior
    21   Court, Case No. BC566493 (Hon. William F. Highberger – approving attorneys’
         fees of 33-1/3% of $600,000 in a pre-certification wage and hour class action);
    22
                 (8) Rodriguez v. Healthcare Partner Medical Group, Inc., Los Angeles
    23   Superior Court, Case No. BC541313 (Hon. Kenneth Freeman – approving attorneys’
         fees of 33-1/3% of $6,000,000 in a pre-certification wage and hour class action);
    24           (9) Smith v. Unionbancal Corp., San Francisco Superior Court, Case No.
         CGC-11-508019 (Hon. Harold E. Kahn – approving attorneys’ fees of 33-1/3% of
    25   $1,450,000 in a pre-certification wage and hour class action);
    26           (10) Walsh v. Cedars-Sinai Medical Center, Los Angeles Superior Court,
         Case No. BC487290 (Hon. William F. Highberger – approving attorneys’ fees of 33-
    27   1/3% of $500,000 in a pre-certification wage and hour class action);
    28
                                                     11
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     1          (11) Plimpton v. Gordon Trucking, Inc., San Bernardino Superior Court,
     2
         Case No. CIV-DS-1511918 (Hon. Donald Alvarez – approving attorneys’ fees of
         33-1/3% of $3,750,000 in a pre-certification wage and hour class action);
     3          (12) Mena v. Wolfgang Puck Catering, Los Angeles Superior Court, Case
         No. BC582743 (Hon. John Shepard Wiley, Jr. – approving attorneys’ fees of 33-
     4   1/3% of $600,000 in a pre-certification wage and hour class action);
     5
                (13) Syed v. M.I. Swaco, USDC Eastern District of California, Case No. 12-
         CV-01718 DAD (Hon. Dale A. Drozd – approving attorneys’ fees of 33-1/3% of
     6
         $7,000,000 in a FLSA Certified / Rule 23 pre-certification wage and hour class
         action);
     7          (14) Magdaleno v. Shelly Automotive, LLC, Orange Superior Court, Case
         No. 2013-0043958 (Hon. Kim. G. Dunning – approving attorneys’ fees of 33-1/3%
     8   of $900,000 in a pre-certification wage and hour class action);
     9
                (15) Grana v. PICO Enterprises, Inc., Los Angeles Superior Court, Case
         No. BC472891 (Hon. Stephanie M. Bowick – approving attorneys’ fees of 33-1/3%
    10
         of $1,500,000 in a certified wage and hour class action);
                  (16) McGrath v. Wyndham, USDC Southern District of California, Case
    11   No. 15-CV-1631 JM (Hon. Jeffrey T. Miller – approving attorneys’ fees of 33-1/3%
         of $7,250,000 in a pre-certification wage and hour class action)
    12          (17) Arellano v. Container Connection, Los Angeles Superior Court, Case
    13
         No. BC500675 (Hon. Ann I. Jones – approving attorneys’ fees of 33-1/3% of
         $1,625,000 in a certified wage and hour class action);
    14          (18) Nijmeh v. Bon Appetit, Santa Clara Superior Court, Case No.
         16CV294127 (Hon. Thomas E. Kuhnle – approving attorneys’ fees of 33-1/3% of
    15   $1,350,000 in a pre-certification wage and hour class action);
    16
                (19) Vaquero v. Stoneledge, Los Angeles Superior Court, Case No.
         BC522676 (Hon. Elihu M. Berle – approving attorneys’ fees of 33-1/3% of
    17
         $3,900,000 in a certified wage and hour class action);
                (20) Schwartz v. Bank of the West, San Francisco Superior Court, Case No.
    18   CGC-14-538955 (Hon. Hon. Harold E. Kahn – approving attorneys’ fees of 33% of
         $1,175,000 in a pre-certification wage and hour class action);
    19            (21) Gutierrez v. Save Mart Supermarkets, San Mateo Superior Court, Case
    20
         No CIV530955 (Hon. Marie S. Weiner – approving attorneys’ fees of 33-1/3% of
         $5,000,000 in a certified wage and hour class action);
    21            (22) Hernandez v. Workforce Enterprises WFE, Inc., Los Angeles Superior
         Court, Case No. BC590913 (Hon. Elihu M. Berle – approving attorneys’ fees of 33-
    22   1/3% of $778,000 in a pre-certification wage and hour class action);
    23
                  (23) Ramos v. Home Depot U.S.A., Inc., Alameda Superior Court, Case No.
         RG15797737 (Hon. Da Ioana Petrou – approving attorneys’ fees of 33-1/3% of
    24
         $2,600,000 in a PAGA action);
                  (24) Klein v. Loomis, San Bernardino Superior Court, Case No.
    25   CIVDS1704547 (Hon. David Cohn – approving attorneys’ fees of 33-1/3% of
         $1,014,000 in a pre-certification wage and hour class action);
    26          (25) Gutierrez v. Southern Counties Oil, San Diego Superior Court, Case
    27
         No. 2017-00040850 (Hon. Ronald F. Frazier – approving attorneys’ fees of 33-1/3%
         of $637,500 in a pre-certification wage and hour class action);
    28
                                                    12
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     1            (26) Lawson v. Staples, Los Angeles Superior Court, Case No. BC542237
     2
         (Hon. Kenneth R. Freeman – approving attorneys’ fees of 33-1/3% of $58,275 in a
         pre-certification wage and hour class action);
     3          (27) Hanson v. Leisure Sports, Inc., Contra Costa Superior Court, Case No.
         MSC17-00078 (Hon. Edward G. Weil – approving attorneys’ fees of 33-1/3% of
     4   $200,000 in a pre-certification wage and hour class action).
     5
                (28) Horton v. Neostrata Company Inc., et al., USDC Southern District of
         California, Case No. 16-CV-2189 JLB (Hon. Anthony J. Battaglia – approving
     6
         attorneys’ fees of 33-1/3% of $355,000 in a pre-certification wage and hour class
         action);
     7          (29) Schaffer v. Rady Children’s Hosptial – San Diego, et al., San Diego
         Superior Court, Case No. 2015-00022978 (Hon. Joel R. Wohlfeil – approving
     8   attorneys’ fees of 33-1/3% of $12,500,000 in a certified wage and hour class action).
     9           17.       If this were a non-representative litigation, the customary fee
    10   arrangement would be contingent, on a percentage basis, in the range of one-third to
    11   40% of the recovery. In short, Class Counsel’s fee request is in line with, if not
    12   lower than, awards in similar cases. This factor also supports Class Counsel’s fee
    13   request.
    14           18.       As stated above, Class Counsel has spent 2,374.6 hours of attorney and
    15   para-professional time prosecuting the case, resulting in a lodestar fee of
    16   $1,230,315.00. The hours expended were reasonable in light of the complexity of
    17   the litigation.
    18           19.       Cohelan Khoury & Singer sets the billing rates of its attorneys to be
    19   consistent with the prevailing market rates in the private sector for attorneys and
    20   staff of comparable skill, qualifications and experience by monitoring the prevailing
    21   market rates charged by both defense and plaintiff law firms.
    22           20.       Class Counsel’s hourly rates are between $550 to $900, and are in line
    23   with rates typically approved in wage and hour class action litigation in both state
    24   and federal courts.
    25           21.       Other wage and hour attorneys working as Class Counsel before
    26   California courts charge comparable if not higher rates. Attached hereto as Exhibit 2
    27   is a true and correct copy of the 2014 National Law Journal survey of hourly billing
    28   rates for Partners and Associates.
                                                      13
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     1          22.    The time spent by Class Counsel on this litigation was necessary,
     2   reasonable, and non-duplicative. Although three firms worked on this case,
     3   duplication was minimized by the timing of the entry of each firm into the litigation
     4   and the focus on related, but different claims.
     5          23.    I am the Managing Partner of Cohelan Khoury & Singer and have
     6   devoted 89.2 hours in representing the Class in this case. The following is a
     7   summary of my tasks and activities in the litigation of this matter: initial case
     8   review; analysis of client time records and documents; legal research; conference
     9   calls with co-counsel and defense counsel; review and revise Opposition to Motion
    10   to Stay; review and revise Plaintiffs’ Motion for Class Certification and Plaintiffs’
    11   Reply; review mediation brief and damage model; prepare, travel and participate in
    12   mediation; review and revise settlement materials; and day to day monitoring of the
    13   case. My hourly rate is $875 per hour. The number of hours I expended on the case,
    14   and the resulting attorney’s fees of $78,050.00 are reasonable and necessary.
    15          24.    Timothy D. Cohelan, Principal and Senior Partner of Cohelan Khoury
    16   & Singer, has devoted 5.6 hours in representing the Class by doing the following:
    17   discussions with Partners re: mediation, settlement negotiations and settlement
    18   proposals. Mr. Cohelan’s hourly rate is $900 per hour. The number of hours
    19   expended for the work performed results in attorney’s fees of $5,040.00 and are
    20   reasonable and necessary.
    21          25.    Isam C. Khoury, Principal and Founding Partner of Cohelan Khoury &
    22   Singer, has devoted 23.5 hours in representing the Class by doing the following:
    23   review case file; review discovery and outstanding discovery issues; conference
    24   calls with co-counsel and defense counsel; interview of Class Members; review
    25   mediation brief and damage calculations; travel to and participate in mediation; and
    26   review preliminary approval and final approval motions. Mr. Khoury is a 1970
    27   graduate of the University of California at San Diego and received a law degree
    28   from Hastings School of Law in 1973. He is a member of the State Bar of
                                            14
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     1   California, admitted in 1974, the San Diego County Bar Association, Consumer
     2   Attorneys of San Diego and Consumer Attorneys of California. Mr. Khoury has
     3   successfully litigated numerous complex civil matters to verdict, jury and non-jury.
     4   He has been selected as a Southern California/San Diego “Super Lawyer” for
     5   multiple years by the Southern California Super Lawyers Magazine, and is AV rated
     6   by Martindale-Hubbell. In recent years, Mr. Khoury has emphasized wage and hour
     7   class action matters having assisted in the litigation to judgement or settlement of
     8   over 150 wage and hour class and representative actions. He has been approved as a
     9   CLE lecturer and has participated in seminars on class action wage and hour issues,
    10   the complexities of mediation, and the procedural requirements involved in class
    11   action settlements. Mr. Khoury has argued appeals and been co-counsel in several
    12   matters of major import including California Supreme Court decisions including
    13   the Brinker decision clarifying California meal and rest break requirements
    14   and Harris v Liberty Mutual which defined parameters for the use of the
    15   administrative exemption. Mr. Khoury’s hourly rate is $875 per hour. The number
    16   of hours expended for the work performed results in attorney’s fees of $20,562.50
    17   and are reasonable and necessary.
    18          26.   Diana M. Khoury, Partner of Cohelan Khoury & Singer, has devoted
    19   128.3 hours in representing the Class by doing the following: drafting, reviewing
    20   and revising the Settlement Agreement, Notice of Class Action Settlement,
    21   Preliminary Approval Motion; review and revise formatted Class documents; dozens
    22   of emails and discussions with defense counsel and administrator regarding data
    23   required, mailing of notice, and undeliverable notice packets; drafting and reviewing
    24   Plaintiff’s declaration in support of his service payment; numerous conversations
    25   with administrator; reviewing and revising administrator’s declaration; and drafting
    26   Motion for Final Approval of Class Action Settlement. Ms. Khoury is a 1975
    27   graduate of San Diego State University where she received her Bachelor of Science
    28   degree. She received her law degree from Western State University College of Law
                                                 15
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     1   in 1986 and was admitted to the State Bar of California 1987. Ms. Khoury has been
     2   selected as a Southern California/San Diego “Super Lawyer” in Civil Litigation in
     3   multiple years by the Southern California Super Lawyers Magazine and is AV-
     4   Preeminent rated by Martindale-Hubbell. Ms. Khoury has successfully litigated
     5   numerous personal injury matters and has taken many to verdict in jury trials and
     6   beyond. In the wage and hour class and representative action litigation area, since
     7   2004, she has been primarily responsible for the negotiation of the terms of the
     8   settlement agreement (following agreement of the principal terms of the settlement)
     9   and taking these settlements through the approval process to obtain judgment and
    10   beyond. Ms. Khoury’s hourly rate is $725 per hour. The number of hours expended
    11   for the work performed results in attorney’s fees of $93,017.50 and are reasonable
    12   and necessary.
    13          27.   Marta Manus, an Associate of Cohelan Khoury & Singer, invested
    14   13.2 hours in this matter by doing the following: legal research to support Plaintiffs’
    15   Motion for Class Certification; review documents filed related Plaintiffs’ Motion for
    16   Class Certification; attend hearing on Plaintiffs’ Motion for Class Certification;
    17   participate in telephonic Case Management Conference with Magistrate; and
    18   numerous communications with Plaintiff’s counsel. Ms. Manus is a 2008 graduate
    19   of California Western School of Law. She graduated with honors and received a
    20   Bachelor of Arts in Psychology from California State University Northridge. Ms.
    21   Manus has been a member of the State Bar of California since her admission in
    22   December 2008. She has practiced before all District Courts in the state of
    23   California as well as the Fourth District Court of Appeal and the U.S. Court of
    24   Appeals for the Ninth Circuit. Ms. Manus has been successfully litigating
    25   employment law cases for nearly a decade, representing employees in all aspects of
    26   labor and employment law matters, including employment discrimination, wrongful
    27   termination, retaliation, and wage and hour class action lawsuits. Her practice
    28   focuses primarily on employee-side wage and hour class actions. Ms. Manus is a
                                               16
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     1   member of the Labor and Employment Law sections of the California and San
     2   Diego Bar Associations as well as the Federal Bar Association. Ms. Manus was
     3   recognized by San Diego Super Lawyers as a Rising Star in 2015, 2016, and 2017.
     4   Mr. Manus’ hourly rate is $550 per hour. The number of hours expended by Ms.
     5   Manus for work performed and the corresponding attorney’s fees of $7,260.00 are
     6   reasonable and necessary.
     7          28.   Janine R. Menhennet, former Associate of Cohelan Khoury & Singer,
     8   invested 228.3 hours in representing the Class. The following is a summary of Ms.
     9   Menhennet’s tasks and activities as one of the attorney primarily responsible for
    10   handling the litigation of this matter at Cohelan Khoury & Singer: research and
    11   analyze applicable provisions of the law and claimed defenses; initial case review
    12   and review of client documents; analysis of time records; review of documents and
    13   data produced by defendant; draft class action complaint; draft PAGA letter; review
    14   of removal papers; prepare for and attend Rule 26(f) Conference; draft discovery
    15   propounded to Defendant; draft Plaintiff’s responses to discovery; prepare Plaintiff
    16   Vazquez for deposition; attend and defend Plaintiff Vazquez at deposition; draft of
    17   revise multiple motions and stipulation, including Motions to Compel, to Dismiss
    18   and to Consolidate; prepare Plaintiff’s portion of the Joint Discovery Plan; attend
    19   deposition of Plaintiff Lopez; review and revise privacy notice; analysis of
    20   thousands of documents produced for prep of motion to compel and 30b6
    21   deposition; travel to Los Angeles and attendance at two PMK Depositions; draft
    22   letter and survey sent to Class Members; review and revise pleading in support of
    23   Plaintiffs’ Motion for Class Certification; attendance at witness depositions related
    24   to Plaintiffs’ Motion for Class Certification; and participate in numerous
    25   teleconferences with defense counsel; draft multiple emails and correspondence. Ms.
    26   Menhennet is a 1988 graduate of the University of California, Berkeley, holding a
    27   Bachelor of Arts in Psychology, and gave the commencement address. In 1992, she
    28   graduated from Loyola Law School of Los Angeles. At Berkeley, Ms. Menhennet
                                              17
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     1   was an editor and contributor to the California Legal Studies Journal, Volumes IV
     2   and V. At Loyola, she was and editor and contributor to the Loyola of Los Angeles
     3   Entertainment Law Journal, Volumes 11 and 12. She has been a member of the
     4   California State Bar since 1992. Ms. Menhennet has practiced multiple aspects of
     5   employment law including employer representation in front of the NLRB, wrongful
     6   termination, sexual harassment, and employer representation and advisement on
     7   behalf of credit unions, including preparation of United States Supreme Court
     8   amicus briefs respecting economies of scale and credit unions. She successfully
     9   fought transient occupancy taxes imposed on federal credit unions in California
    10   Credit Union League v. City of Anaheim,95 F.3d 30 (9th Cir. 1996), which had far-
    11   reaching impacts on taxation of federal instrumentalities beyond federal credit
    12   unions. Ms. Menhennet has been involved in employee-side wage and hour class
    13   actions, as well as employee-side antitrust class actions. Her appellate experience
    14   includes dozens of matters, from briefs to argument, in both California and varied
    15   federal venues with a successful appeal in Dennis v. Kellogg Co., 697 F.3d 858 (9th
    16   Cir. 2012). While at Cohelan Khoury & Singer, Ms. Menhennet was billed at an
    17   hourly rate of $550 per hour. The number of hours expended by Ms. Menhennet for
    18   work performed and the corresponding attorney’s fees of $125,565.00 are
    19   reasonable and necessary.
    20          29.   To date, Class Counsel has advanced costs of $150,584.72 to in this
    21   litigation. These costs were all reasonable and necessary to the prosecution of this
    22   case, and included filing fees for pleading and motions, service of process,
    23   deposition, expert and consultants to create and manage databases and calculate
    24   damages, mediation fees, preparing for and participating in mediation, travel,
    25   attorney service fees, copying, postage, messenger services, etc. Attached as Exhibit
    26   3 is a true and correct copy of Cohelan Khoury & Singer’s Itemization of Costs
    27   expended in this matter, which totals $27,665.92.
    28
                                                     18
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     1          30.    Subject to this Court’s approval, Class Counsel requests the modest
     2   sum of $7,500 to be awarded to Plaintiffs Enrique Vazquez, Sergio Alfonso Lopez,
     3   and Maria Viveros each, and $3,000 to Plaintiff Xochitl Lozano for their
     4   commitment to prosecuting this Action, their efforts, risks undertaken for the
     5   payment of attorneys’ fees and costs if the Action had been lost, general releases of
     6   all claims arising from their employment, stigma upon future employment
     7   opportunities for having sued a former employer, as well as having obtained
     8   substantial recoveries for every Class Member. Their efforts have been detailed in
     9   their declarations filed with this Motion.
    10          31.    Plaintiffs have invested much personal time and effort in the
    11   investigation, before and after the case was commenced, assisted their counsel with
    12   the factual development, and participated in the prosecution, mediation and
    13   settlement of the case.
    14          32.    On the same date the instant motion is filed with the Court, it will be
    15   served upon Defendant and provided to the Labor and Workforce Development
    16   Agency       (“LWDA”)       electronically        through   the     LWDA’s          website,
    17   https://www.dir.ca.gov/Private-Attorneys-General-Act/Private-Attorneys-General-
    18   Act.html, using the appropriate intake form.
    19          I declare under the penalty of perjury under the laws of the United States of
    20   America that the foregoing is true and correct and that this declaration was executed
    21   on this 21st day of February 2020 in San Diego, California.
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    22
                                                              Michael
                                                                 hael D. Singer
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                     EXHIBIT 1
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                                SUMMARY OF TIME AND COSTS
                               Vazquez v. Kraft Heinz Foods Company
                            U.S.D.C. Case No. 16-CV-2749 WQH (BLM)

Total Attorneys’ Hours:                   2,374.6
Total Lodestar Fees:                 $1,230,315.00
Total Costs:                         $ 150,584.72
                                                                        As of February 20, 2020
                FIRM/                         YEAR        HOURS     HOURLY         TOTAL
              ATTORNEYS                     ADMITTED                 RATE
 COHELAN KHOURY & SINGER

 Timothy D. Cohelan                           1974 (46)     5.6       $900           $5,040.00
 Isam C. Khoury                               1974 (45)    23.5       $875          $20,562.50
 Michael D. Singer                            1984 (36)    89.2       $875          $78,050.00
 Diana M. Khoury                              1987 (33)   128.3       $725          $93,017.50
 Marta Manus                                  2008 (12)    13.2       $550           $7,260.00
 Janine R. Menhennet                          1992 (28)   228.3       $550         $125,565.00
   (Former Associate)
 Amber Worden, Certified Paralegal              N/A        13.1       $200           $2,620.00
 Matthew Atlas, Paralegal                       N/A        11.9       $175           $2,082.50
       COHELAN KHOURY & SINGER TOTAL:                     513.1                    $334,197.50


                FIRM/                         YEAR        HOURS     HOURLY         TOTAL
              ATTORNEYS                     ADMITTED                 RATE
 HAINES LAW GROUP

 Paul K. Haines                               2006 (13)   482.5       $650         $313,625.00
 Seam M. Blakely                              2009 (10)   364.7       $550         $200,585.00
 Tuvia Korobkin                               2009 (10)    88.5       $550         $ 48,675.00
 Daniel Brown                                 2015 (4)    380.2       $400         $152,080.00
 Stacey M. Shim                               2015 (4)    220.6       $400          $ 88,240.00
 Jamin Xu                                     2018 (2)    106.2       $325          $ 34,515.00
 Paralegals                                               180.5       $175          $ 31,587.00
                                 HAINES LAW GROUP:        1,823.2                  $869,307.00




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             FIRM/                      YEAR       HOURS    HOURLY      TOTAL
           ATTORNEYS                  ADMITTED               RATE

LAW OFFICES OF SAHAG MAJARIAN II

Sahag Majarian II                      1990 (29)    38.3       $700      $26,810.00
           LAW OFFICES OF SAHAG MAJARIAN II:        38.3                 $26,810.00



              TOTAL HOURS & LODESTAR FEE:            2,374.6 Hours     $1,230,315.00



                                   LITIGATION EXPENSES

Cohelan Khoury & Singer                                                 $ 27,665.92
Law Offices Of Sahag Majarian II                                        $ 18,135.08
Haines Law Group                                                        $104,783.72
                                                         TOTAL COSTS    $150,584.72




                                                                                   2
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                     EXHIBIT 2
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Ye        Firm Name                              Location          Average FTE         Partner Billing     Partner Billing      Partner Billing Rate   Associate          Associate        Associate Billing     Counsel     Counsel      Counsel   NLJ Billing Source      Notes
                                                                   Attorneys           Rate High           Rate Low             Avg                    Billing Rate       Billing Rate     Rate Avg              Avg         Low          High
                                                                                                                                                       High               Low




     2014 Adams and Reese                        New Orleans, LA                 318             $700.00              $305.00                $420.00          $315.00            $220.00               $270.00     $500.00      $425.00     $575.00 National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                                                                                                    December 2014           attorneys at the firm and the
                                                                                                                                                                                                                                                                            city of the firm’s largest U.S.
                                                                                                                                                                                                                                                                            office as listed in the 2014
                                                                                                                                                                                                                                                                            NLJ 350 report
     2014 Akerman                                Miami, FL                       523             $880.00              $360.00                $535.00          $465.00            $205.00               $305.00                                      National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                                                                                                    December 2014           attorneys at the firm and the
                                                                                                                                                                                                                                                                            city of the firm’s largest U.S.
                                                                                                                                                                                                                                                                            office as listed in the 2014
                                                                                                                                                                                                                                                                            NLJ 350 report
     2014 Akin Gump Strauss Hauer &              Washington, DC                  809            $1220.00              $615.00                $785.00          $660.00            $365.00               $525.00                                      National Law Journal,   Full-time equivalent (FTE)
          Feld                                                                                                                                                                                                                                      December 2014           attorneys at the firm and the
                                                                                                                                                                                                                                                                            city of the firm’s largest U.S.
                                                                                                                                                                                                                                                                            office as listed in the 2014
                                                                                                                                                                                                                                                                            NLJ 350 report
     2014 Allen Matkins Leck Gamble              Los Angeles, CA                 181             $680.00              $525.00                $615.00                                                                                                National Law Journal,   Full-time equivalent (FTE)
          Mallory & Natsis                                                                                                                                                                                                                          December 2014           attorneys at the firm and the
                                                                                                                                                                                                                                                                            city of the firm’s largest U.S.
                                                                                                                                                                                                                                                                            office as listed in the 2014
                                                                                                                                                                                                                                                                            NLJ 350 report
     2014 Alston & Bird                          Atlanta, GA                     789             $875.00              $495.00                $675.00          $575.00            $280.00               $425.00                                      National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                                                                                                    December 2014           attorneys at the firm and the
                                                                                                                                                                                                                                                                            city of the firm’s largest U.S.
                                                                                                                                                                                                                                                                            office as listed in the 2014
                                                                                                                                                                                                                                                                            NLJ 350 report
     2014 Andrews Kurth                          Houston, TX                     337            $1090.00              $745.00                $890.00         $1090.00            $265.00               $670.00                                      National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                                                                                                    December 2014           attorneys at the firm and the
                                                                                                                                                                                                                                                                            city of the firm’s largest U.S.
                                                                                                                                                                                                                                                                            office as listed in the 2014
                                                                                                                                                                                                                                                                            NLJ 350 report
     2014 Archer & Greiner                       Haddonfield, NJ                 194             $460.00              $330.00                $400.00          $295.00            $200.00               $245.00                                      National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                                                                                                    December 2014           attorneys at the firm and the
                                                                                                                                                                                                                                                                            city of the firm’s largest U.S.
                                                                                                                                                                                                                                                                            office as listed in the 2014
                                                                                                                                                                                                                                                                            NLJ 350 report
     2014 Arent Fox                              Washington, DC                  330             $860.00              $500.00                $650.00          $595.00            $275.00               $395.00                                      National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                                                                                                    December 2014           attorneys at the firm and the
                                                                                                                                                                                                                                                                            city of the firm’s largest U.S.
                                                                                                                                                                                                                                                                            office as listed in the 2014
                                                                                                                                                                                                                                                                            NLJ 350 report




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    2014 Arnall Golden Gregory                  Atlanta, GA          140     $520.00    $430.00    $490.00                                                             National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Arnold & Porter                        Washington, DC       720     $950.00    $670.00    $815.00   $610.00   $345.00   $500.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Arnstein & Lehr                        Chicago, IL          144     $595.00    $350.00    $465.00   $350.00   $175.00   $250.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Baker & Hostetler                      Cleveland, OH        798     $670.00    $275.00    $449.00   $350.00   $210.00   $272.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Baker & McKenzie                       Chicago, IL          4087   $1130.00    $260.00    $755.00   $925.00   $100.00   $395.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Baker, Donelson, Bearman,              Memphis, TN          588     $495.00    $340.00    $400.00   $465.00   $245.00   $295.00                               National Law Journal,   Full-time equivalent (FTE)
         Caldwell & Berkowitz                                                                                                                                          December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Ballard Spahr                          Philadelphia, PA     483     $650.00    $395.00    $475.00   $495.00   $235.00   $315.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Barnes & Thornburg                     Indianapolis, IN     522     $580.00    $330.00    $480.00   $370.00   $260.00   $320.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Benesch, Friedlander, Coplan Cleveland, OH                  150     $635.00    $360.00    $455.00   $475.00   $155.00   $280.00                               National Law Journal,   Full-time equivalent (FTE)
         & Aronoff                                                                                                                                                     December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Best Best & Krieger                    Riverside, CA        176     $655.00    $340.00    $455.00   $385.00   $235.00   $280.00   $439.83   $340.00   $595.00 National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
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    2014 Bingham McCutchen                      Boston, MA           795    $1080.00    $220.00    $795.00   $605.00   $185.00   $450.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Blank Rome                             Philadelphia, PA     447     $940.00    $445.00    $640.00   $565.00   $175.00   $350.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Bond, Schoeneck & King                 Syracuse, NY         198     $520.00    $240.00    $355.00   $310.00   $160.00   $225.00   $360.00   $275.00   $485.00 National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Bowles Rice                            Charleston, WV       140     $285.00    $165.00    $230.00   $180.00   $115.00   $135.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Bracewell & Giuliani                   Houston, TX          441    $1125.00    $575.00    $760.00   $700.00   $275.00   $440.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Bradley Arant Boult                    Birmingham, AL       413     $605.00    $325.00    $430.00   $340.00   $200.00   $260.00                               National Law Journal,   Full-time equivalent (FTE)
         Cummings                                                                                                                                                      December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Broad and Cassel                       Orlando, FL          150     $465.00    $295.00    $380.00                                                             National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Brown Rudnick                          Boston, MA           187    $1045.00    $650.00    $856.00                                                             National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Brownstein Hyatt Farber                Denver, CO           214     $700.00    $310.00    $520.00   $345.00   $265.00   $305.00                               National Law Journal,   Full-time equivalent (FTE)
         Schreck                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Bryan Cave                             St. Louis, MO        985     $900.00    $410.00    $620.00   $595.00   $220.00   $405.00   $635.00   $355.00   $865.00 National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
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    2014 Buchalter Nemer                         Los Angeles, CA      139     $695.00    $475.00    $605.00   $375.00   $350.00   $365.00                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                 NLJ 350 report
    2014 Burr & Forman                           Birmingham, AL       261     $525.00    $300.00    $371.00   $275.00   $200.00   $241.00                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                 NLJ 350 report
    2014 Butler Snow                             Ridgeland, MS        280     $335.00    $235.00    $302.00                                              National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                 NLJ 350 report
    2014 Cadwalader, Wickersham &                New York, NY         437    $1050.00    $800.00    $930.00   $750.00   $395.00   $605.00                National Law Journal,   Full-time equivalent (FTE)
         Taft                                                                                                                                            December 2014           attorneys at the firm and the
                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                 NLJ 350 report
    2014 Carlton Fields                          Tampa, FL            272     $840.00    $455.00    $600.00                                              National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                 NLJ 350 report
    2014 Cole, Schotz, Meisel, Forman            Hackensack, NJ       118     $730.00    $590.00    $653.00   $340.00   $275.00   $302.00                National Law Journal,   Full-time equivalent (FTE)
         & Leonard                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                 NLJ 350 report
    2014 Connell Foley                           Roseland, NJ         129     $575.00    $275.00    $425.00   $325.00   $200.00   $265.00                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                 NLJ 350 report
    2014 Cooley                                  Palo Alto, CA        673     $990.00    $660.00    $820.00   $640.00   $335.00   $515.00                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                 NLJ 350 report
    2014 Covington & Burling                     Washington, DC       760     $890.00    $605.00    $780.00   $565.00   $320.00   $415.00                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                 NLJ 350 report
    2014 Cozen O'Connor                          Philadelphia, PA     495    $1135.00    $275.00    $570.00   $640.00   $180.00   $355.00                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                 city of the firm’s largest U.S.
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    2014 Curtis, Mallet-Prevost, Colt &           New York, NY        323     $860.00    $730.00     $800.00   $785.00   $345.00   $480.00                               National Law Journal,   Full-time equivalent (FTE)
         Mosle                                                                                                                                                           December 2014           attorneys at the firm and the
                                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                                 NLJ 350 report
    2014 Davis Graham & Stubbs                    Denver, CO          145     $635.00    $315.00     $435.00   $350.00   $200.00   $255.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                                 NLJ 350 report
    2014 Davis Polk & Wardwell                    New York, NY        810     $985.00    $850.00     $975.00   $975.00   $130.00   $615.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                                 NLJ 350 report
    2014 Debevoise & Plimpton                     New York, NY        595    $1075.00    $955.00    $1055.00   $760.00   $120.00   $490.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                                 NLJ 350 report
    2014 Dechert                                  New York, NY        845    $1095.00    $670.00     $900.00   $735.00   $395.00   $530.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                                 NLJ 350 report
    2014 Dentons                                  New York, NY        2503   $1050.00    $345.00     $700.00   $685.00   $210.00   $425.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                                 NLJ 350 report
    2014 Dickstein Shapiro                        Washington, DC      254    $1250.00    $590.00     $750.00   $585.00   $310.00   $475.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                                 NLJ 350 report
    2014 Dinsmore & Shohl                         Cincinnati, OH      415     $850.00    $250.00     $411.00   $365.00   $160.00   $238.00   $360.00   $150.00   $615.00 National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                                 NLJ 350 report
    2014 DLA Piper                                New York, NY        3962   $1025.00    $450.00     $765.00   $750.00   $250.00   $510.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                                 NLJ 350 report
    2014 Dorsey & Whitney                         Minneapolis, MN     501     $585.00    $340.00     $435.00   $510.00   $215.00   $315.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                                 office as listed in the 2014
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    2014 Duane Morris                           Philadelphia, PA     613     $960.00    $415.00     $589.00   $585.00   $280.00   $373.00   $638.00   $460.00   $1015.00 National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                                 NLJ 350 report
    2014 Edwards Wildman Palmer                 Boston, MA           540     $765.00    $210.00     $535.00   $415.00   $245.00   $325.00                                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                                 NLJ 350 report
    2014 Faegre Baker Daniels                   Minneapolis, MN      673     $580.00    $355.00     $455.00   $315.00   $110.00   $260.00                                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                                 NLJ 350 report
    2014 Foley & Lardner                        Milwaukee, WI        844     $860.00    $405.00     $600.00   $470.00   $210.00   $335.00                                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                                 NLJ 350 report
    2014 Foley Hoag                             Boston, MA           221     $775.00    $590.00     $670.00   $385.00   $290.00   $325.00                                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                                 NLJ 350 report
    2014 Fox Rothschild                         Philadelphia, PA     531     $750.00    $335.00     $530.00   $500.00   $245.00   $310.00                                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                                 NLJ 350 report
    2014 Fried, Frank, Harris, Shriver & New York, NY                450    $1100.00    $930.00    $1000.00   $760.00   $375.00   $595.00                                National Law Journal,   Full-time equivalent (FTE)
         Jacobson                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                                 NLJ 350 report
    2014 Frost Brown Todd                       Cincinnati, OH       414     $600.00    $220.00     $387.00   $315.00   $150.00   $234.00   $417.00   $350.00    $540.00 National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                                 NLJ 350 report
    2014 Gardere Wynne Sewell                   Dallas, TX           218     $775.00    $430.00     $635.00   $330.00   $290.00   $303.00                                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                                 NLJ 350 report
    2014 Gibbons                                Newark, NJ           201     $865.00    $440.00     $560.00   $475.00   $295.00   $360.00                                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                                 NLJ 350 report




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    2014 Gibson, Dunn & Crutcher                New York, NY       1154   $1800.00    $765.00    $980.00   $930.00   $175.00   $590.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                     December 2014           attorneys at the firm and the
                                                                                                                                                                                             city of the firm’s largest U.S.
                                                                                                                                                                                             office as listed in the 2014
                                                                                                                                                                                             NLJ 350 report
    2014 Gordon Rees Scully                     San Diego, CA      478     $475.00    $375.00    $420.00   $325.00   $285.00   $300.00                               National Law Journal,   Full-time equivalent (FTE)
         Mansukhani                                                                                                                                                  December 2014           attorneys at the firm and the
                                                                                                                                                                                             city of the firm’s largest U.S.
                                                                                                                                                                                             office as listed in the 2014
                                                                                                                                                                                             NLJ 350 report
    2014 Greenberg Traurig                      New York, NY       1690    $955.00    $535.00    $763.00   $570.00   $325.00   $470.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                     December 2014           attorneys at the firm and the
                                                                                                                                                                                             city of the firm’s largest U.S.
                                                                                                                                                                                             office as listed in the 2014
                                                                                                                                                                                             NLJ 350 report
    2014 Harris Beach                           Rochester, NY      198     $400.00    $298.00    $348.00   $285.00   $175.00   $230.00   $287.50   $175.00   $400.00 National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                     December 2014           attorneys at the firm and the
                                                                                                                                                                                             city of the firm’s largest U.S.
                                                                                                                                                                                             office as listed in the 2014
                                                                                                                                                                                             NLJ 350 report
    2014 Harter Secrest & Emery                 Rochester, NY      132     $465.00    $300.00    $385.00   $290.00   $195.00   $250.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                     December 2014           attorneys at the firm and the
                                                                                                                                                                                             city of the firm’s largest U.S.
                                                                                                                                                                                             office as listed in the 2014
                                                                                                                                                                                             NLJ 350 report
    2014 Haynes and Boone                       Dallas, TX         483    $1020.00    $450.00    $670.00   $580.00   $310.00   $405.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                     December 2014           attorneys at the firm and the
                                                                                                                                                                                             city of the firm’s largest U.S.
                                                                                                                                                                                             office as listed in the 2014
                                                                                                                                                                                             NLJ 350 report
    2014 Hogan Lovells                          Washington, DC     2313   $1000.00    $705.00    $835.00                                                             National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                     December 2014           attorneys at the firm and the
                                                                                                                                                                                             city of the firm’s largest U.S.
                                                                                                                                                                                             office as listed in the 2014
                                                                                                                                                                                             NLJ 350 report
    2014 Holland & Hart                         Denver, CO         423     $725.00    $305.00    $442.00   $425.00   $175.00   $277.00   $363.00   $225.00   $535.00 National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                     December 2014           attorneys at the firm and the
                                                                                                                                                                                             city of the firm’s largest U.S.
                                                                                                                                                                                             office as listed in the 2014
                                                                                                                                                                                             NLJ 350 report
    2014 Holland & Knight                       Washington, DC     956    $1085.00    $355.00    $625.00   $595.00   $210.00   $340.00   $575.00   $420.00   $910.00 National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                     December 2014           attorneys at the firm and the
                                                                                                                                                                                             city of the firm’s largest U.S.
                                                                                                                                                                                             office as listed in the 2014
                                                                                                                                                                                             NLJ 350 report
    2014 Honigman Miller Schwartz and Detroit, MI                  231     $560.00    $290.00    $390.00   $225.00   $205.00   $220.00                               National Law Journal,   Full-time equivalent (FTE)
         Cohn                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                             city of the firm’s largest U.S.
                                                                                                                                                                                             office as listed in the 2014
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    2014 Hughes Hubbard & Reed                   New York, NY         351     $995.00    $725.00    $890.00   $675.00   $365.00   $555.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                                NLJ 350 report
    2014 Husch Blackwell                         St. Louis, MO        539     $785.00    $250.00    $449.00   $440.00   $190.00   $275.00   $418.00   $240.00   $625.00 National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                                NLJ 350 report
    2014 Ice Miller                              Indianapolis, IN     291     $530.00    $335.00    $450.00   $305.00   $245.00   $270.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                                NLJ 350 report
    2014 Irell & Manella                         Los Angeles, CA      166     $975.00    $800.00    $890.00   $750.00   $395.00   $535.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                                NLJ 350 report
    2014 Jackson Kelly                           Charleston, WV       179     $535.00    $270.00    $345.00   $315.00   $200.00   $243.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                                NLJ 350 report
    2014 Jackson Lewis                           Los Angeles, CA      724     $440.00    $310.00    $380.00   $315.00   $275.00   $290.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                                NLJ 350 report
    2014 Jackson Walker                          Dallas, TX           333     $675.00    $575.00    $622.00   $385.00   $255.00   $335.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                                NLJ 350 report
    2014 Jeffer, Mangels, Butler &               Los Angeles, CA      125     $875.00    $560.00    $690.00                                                             National Law Journal,   Full-time equivalent (FTE)
         Mitchell                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                                NLJ 350 report
    2014 Jenner & Block                          Chicago, IL          434     $925.00    $565.00    $745.00   $550.00   $380.00   $465.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                                NLJ 350 report
    2014 Jones Day                               New York, NY         2464    $975.00    $445.00    $745.00   $775.00   $205.00   $435.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                                office as listed in the 2014
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    2014 Jones Walker                            New Orleans, LA     363     $425.00    $275.00    $385.00   $240.00   $200.00   $225.00                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                NLJ 350 report
    2014 Kasowitz, Benson, Torres &              New York, NY        372    $1195.00    $600.00    $835.00   $625.00   $200.00   $340.00                National Law Journal,   Full-time equivalent (FTE)
         Friedman                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                NLJ 350 report
    2014 Katten Muchin Rosenman                  Chicago, IL         612     $745.00    $500.00    $615.00   $595.00   $340.00   $455.00                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                NLJ 350 report
    2014 Kaye Scholer                            New York, NY        392    $1250.00    $725.00    $860.00   $795.00   $370.00   $597.00                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                NLJ 350 report
    2014 Kelley Drye & Warren                    New York, NY        293     $815.00    $435.00    $640.00   $600.00   $305.00   $430.00                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                NLJ 350 report
    2014 Kilpatrick Townsend &                   Atlanta, GA         561     $775.00    $400.00    $550.00   $475.00   $315.00   $385.00                National Law Journal,   Full-time equivalent (FTE)
         Stockton                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                NLJ 350 report
    2014 King & Spalding                         Atlanta, GA         874     $995.00    $545.00    $775.00   $735.00   $125.00   $460.00                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                NLJ 350 report
    2014 Kirkland & Ellis                        Chicago, IL         1554    $995.00    $590.00    $825.00   $715.00   $235.00   $540.00                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                NLJ 350 report
    2014 Knobbe Martens Olson & Bear Irvine, CA                      260     $810.00    $450.00    $575.00   $455.00   $305.00   $360.00                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                office as listed in the 2014
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    2014 Kramer Levin Naftalis &                 New York, NY        313    $1100.00    $745.00    $921.00   $815.00   $515.00   $675.00                National Law Journal,   Full-time equivalent (FTE)
         Frankel                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                city of the firm’s largest U.S.
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    2014 Lane Powell                            Seattle, WA         170     $675.00    $375.00    $516.00   $425.00   $260.00   $331.00   $477.00   $300.00   $650.00 National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                      December 2014           attorneys at the firm and the
                                                                                                                                                                                              city of the firm’s largest U.S.
                                                                                                                                                                                              office as listed in the 2014
                                                                                                                                                                                              NLJ 350 report
    2014 Latham & Watkins                       New York, NY        2060   $1110.00    $895.00    $990.00   $725.00   $465.00   $605.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                      December 2014           attorneys at the firm and the
                                                                                                                                                                                              city of the firm’s largest U.S.
                                                                                                                                                                                              office as listed in the 2014
                                                                                                                                                                                              NLJ 350 report
    2014 Lathrop & Gage                         Kansas City, MO     283     $700.00    $285.00    $420.00   $375.00   $195.00   $250.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                      December 2014           attorneys at the firm and the
                                                                                                                                                                                              city of the firm’s largest U.S.
                                                                                                                                                                                              office as listed in the 2014
                                                                                                                                                                                              NLJ 350 report
    2014 Lewis Roca Rothgerber                  Phoenix, AZ         228     $695.00    $380.00    $505.00   $525.00   $205.00   $400.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                      December 2014           attorneys at the firm and the
                                                                                                                                                                                              city of the firm’s largest U.S.
                                                                                                                                                                                              office as listed in the 2014
                                                                                                                                                                                              NLJ 350 report
    2014 Lindquist & Vennum                     Minneapolis, MN     178     $600.00    $460.00    $520.00   $470.00   $275.00   $365.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                      December 2014           attorneys at the firm and the
                                                                                                                                                                                              city of the firm’s largest U.S.
                                                                                                                                                                                              office as listed in the 2014
                                                                                                                                                                                              NLJ 350 report
    2014 Littler Mendelson                      San Francisco,      1002    $615.00    $395.00    $550.00   $420.00   $245.00   $290.00                               National Law Journal,   Full-time equivalent (FTE)
                                                CA                                                                                                                    December 2014           attorneys at the firm and the
                                                                                                                                                                                              city of the firm’s largest U.S.
                                                                                                                                                                                              office as listed in the 2014
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    2014 Lowenstein Sandler                     Roseland, NJ        261     $990.00    $600.00    $765.00   $650.00   $300.00   $450.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                      December 2014           attorneys at the firm and the
                                                                                                                                                                                              city of the firm’s largest U.S.
                                                                                                                                                                                              office as listed in the 2014
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    2014 Manatt, Phelps & Phillips              Los Angeles, CA     329     $795.00    $640.00    $740.00                                                             National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                      December 2014           attorneys at the firm and the
                                                                                                                                                                                              city of the firm’s largest U.S.
                                                                                                                                                                                              office as listed in the 2014
                                                                                                                                                                                              NLJ 350 report
    2014 McCarter & English                     Newark, NJ          371     $625.00    $450.00    $530.00   $370.00   $220.00   $300.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                      December 2014           attorneys at the firm and the
                                                                                                                                                                                              city of the firm’s largest U.S.
                                                                                                                                                                                              office as listed in the 2014
                                                                                                                                                                                              NLJ 350 report
    2014 McDermott Will & Emery                 Chicago, IL         1021    $835.00    $525.00    $710.00                                                             National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                      December 2014           attorneys at the firm and the
                                                                                                                                                                                              city of the firm’s largest U.S.
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    2014 McElroy, Deutsch, Mulvaney             Morristown, NJ       274     $560.00    $325.00    $445.00   $335.00   $200.00   $295.00                               National Law Journal,   Full-time equivalent (FTE)
         & Carpenter                                                                                                                                                   December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 McGuireWoods                           Richmond, VA         931     $725.00    $450.00    $595.00   $525.00   $285.00   $360.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
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    2014 McKenna Long & Aldridge                Atlanta, GA          518     $650.00    $480.00    $530.00   $425.00   $375.00   $395.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
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    2014 Michael, Best & Friedrich              Milwaukee, WI        189     $650.00    $235.00    $445.00   $425.00   $200.00   $283.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
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    2014 Miles & Stockbridge                    Baltimore, MD        226     $740.00    $340.00    $478.00   $425.00   $230.00   $290.00   $419.00   $225.00   $695.00 National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Moore & Van Allen                      Charlotte, NC        274     $870.00    $315.00    $490.00   $430.00   $190.00   $280.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Morgan, Lewis & Bockius                Philadelphia, PA     1363    $765.00    $430.00    $620.00   $585.00   $270.00   $390.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
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    2014 Morris, Manning & Martin               Atlanta, GA          148     $575.00    $400.00    $480.00                                                             National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
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    2014 Morrison & Foerster                    San Francisco,       1020   $1195.00    $595.00    $865.00   $725.00   $230.00   $525.00                               National Law Journal,   Full-time equivalent (FTE)
                                                CA                                                                                                                     December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
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    2014 Nelson Mullins                         Columbia, SC         466     $800.00    $250.00    $444.00   $395.00   $215.00   $271.00   $376.00   $195.00   $600.00 National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
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    2014 Nixon Peabody                           Boston, MA          584     $850.00    $295.00    $520.00   $550.00   $180.00   $300.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Norris McLaughlin & Marcus              Bridgewater, NJ     128     $505.00    $485.00    $495.00   $365.00   $185.00   $275.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Norton Rose Fulbright                   Houston, TX         3537    $900.00    $525.00    $775.00   $515.00   $300.00   $400.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Nossaman                                Los Angeles, CA     148     $800.00    $370.00    $579.00   $490.00   $255.00   $340.00   $495.00   $440.00   $550.00 National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Nutter McClennen & Fish                 Boston, MA          146     $715.00    $470.00    $575.00   $460.00   $295.00   $375.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Ogletree Deakins                        Atlanta, GA         668     $650.00    $250.00    $360.00   $365.00   $200.00   $260.00   $315.00   $230.00   $555.00 National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 O'Melveny & Myers                       Los Angeles, CA     721     $950.00    $615.00    $715.00                                                             National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Orrick Herrington & Sutcliffe           New York, NY        954    $1095.00    $715.00    $845.00   $375.00   $710.00   $560.00   $735.00   $685.00   $850.00 National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Parker Poe Adams &                      Charlotte, NC       185     $500.00    $425.00    $450.00                                                             National Law Journal,   Full-time equivalent (FTE)
         Bernstein                                                                                                                                                     December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Paul Hastings                           New York, NY        889     $900.00    $750.00    $815.00   $755.00   $335.00   $540.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
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    2014 Paul, Weiss, Rifkind, Wharton New York, NY                   854    $1120.00    $760.00    $1040.00   $735.00   $595.00   $678.00                               National Law Journal,   Full-time equivalent (FTE)
         & Garrison                                                                                                                                                      December 2014           attorneys at the firm and the
                                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                                 NLJ 350 report
    2014 Pepper Hamilton                         Philadelphia, PA     510     $950.00    $465.00     $645.00   $525.00   $280.00   $390.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                                 NLJ 350 report
    2014 Perkins Coie                            Seattle, WA          861    $1000.00    $330.00     $615.00   $610.00   $215.00   $425.00   $635.00   $280.00   $800.00 National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                                 NLJ 350 report
    2014 Pillsbury Winthrop Shaw                 Washington, DC       591    $1070.00    $615.00     $865.00   $860.00   $375.00   $520.00                               National Law Journal,   Full-time equivalent (FTE)
         Pittman                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                                 NLJ 350 report
    2014 Polsinelli                              Kansas City, MO      616     $775.00    $325.00     $435.00   $350.00   $235.00   $279.00   $376.00   $300.00   $450.00 National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                                 NLJ 350 report
    2014 Proskauer Rose                          New York, NY         712     $950.00    $725.00     $880.00   $675.00   $295.00   $465.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                                 NLJ 350 report
    2014 Quarles & Brady                         Milwaukee, WI        422     $625.00    $425.00     $519.00   $600.00   $210.00   $335.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                                 NLJ 350 report
    2014 Quinn Emanuel Urquhart &                New York, NY         673    $1075.00    $810.00     $915.00   $675.00   $320.00   $410.00                               National Law Journal,   Full-time equivalent (FTE)
         Sullivan                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                                 NLJ 350 report
    2014 Reed Smith                              Pittsburgh, PA       1555    $890.00    $605.00     $737.00   $530.00   $295.00   $420.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                                 office as listed in the 2014
                                                                                                                                                                                                 NLJ 350 report
    2014 Richards, Layton & Finger               Wilmington, DE       124     $800.00    $600.00     $678.00   $465.00   $350.00   $414.00                               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                         December 2014           attorneys at the firm and the
                                                                                                                                                                                                 city of the firm’s largest U.S.
                                                                                                                                                                                                 office as listed in the 2014
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    2014 Riker Danzig Scherer Hyland            Morristown, NJ       146     $495.00    $430.00    $455.00   $295.00   $210.00   $250.00                National Law Journal,   Full-time equivalent (FTE)
         & Perretti                                                                                                                                     December 2014           attorneys at the firm and the
                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                NLJ 350 report
    2014 Robinson & Cole                        Hartford, CT         201     $700.00    $295.00    $500.00   $445.00   $215.00   $300.00                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                NLJ 350 report
    2014 Rutan & Tucker                         Costa Mesa, CA       147     $675.00    $345.00    $490.00   $500.00   $230.00   $320.00                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                NLJ 350 report
    2014 Saul Ewing                             Philadelphia, PA     240     $875.00    $375.00    $546.00   $590.00   $225.00   $344.00                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                NLJ 350 report
    2014 Schiff Hardin                          Chicago, IL          317                                     $415.00   $250.00   $333.00                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                NLJ 350 report
    2014 Sedgwick                               San Francisco,       342     $615.00    $305.00    $425.00   $475.00   $250.00   $325.00                National Law Journal,   Full-time equivalent (FTE)
                                                CA                                                                                                      December 2014           attorneys at the firm and the
                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                NLJ 350 report
    2014 Seward & Kissel                        New York, NY         143     $850.00    $625.00    $735.00   $600.00   $290.00   $400.00                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                NLJ 350 report
    2014 Seyfarth Shaw                          Chicago, IL          779     $860.00    $375.00    $610.00   $505.00   $225.00   $365.00                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                NLJ 350 report
    2014 Sheppard Mullin Richter &              Los Angeles, CA      549     $875.00    $490.00    $685.00   $535.00   $275.00   $415.00                National Law Journal,   Full-time equivalent (FTE)
         Hampton                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                NLJ 350 report
    2014 Shumaker Loop & Kendrick               Toledo, OH           224     $595.00    $305.00    $413.00   $330.00   $160.00   $256.00                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                NLJ 350 report




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    2014 Shutts & Bowen                         Miami, FL          230     $660.00    $250.00     $430.00   $345.00   $195.00   $260.00                                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Skadden, Arps, Slate,                  New York, NY       1664   $1150.00    $845.00    $1035.00   $845.00   $340.00   $620.00                                National Law Journal,   Full-time equivalent (FTE)
         Meagher & Flom                                                                                                                                                December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Snell & Wilmer                         Phoenix, AZ        411     $845.00    $325.00     $525.00   $470.00   $180.00   $280.00                                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Spilman Thomas & Battle                Charleston, WV     131                                                                    $280.00   $215.00    $350.00 National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Squire Patton Boggs                                               $950.00    $350.00     $655.00   $530.00   $250.00   $355.00                                National Law Journal,   Location data not available
                                                                                                                                                                       December 2014           due to merger in 2014. Full-
                                                                                                                                                                                               time equivalent (FTE)
                                                                                                                                                                                               attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Sterne, Kessler, Goldstein &           Washington, DC     122     $795.00    $450.00     $577.00   $470.00   $265.00   $346.00   $483.57   $450.00    $520.00 National Law Journal,   Full-time equivalent (FTE)
         Fox                                                                                                                                                           December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Stevens & Lee                          Reading, PA        154     $800.00    $525.00     $625.00                                                              National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Stoel Rives                            Portland, OR       365     $800.00    $300.00     $492.00   $465.00   $205.00   $287.00   $312.00   $280.00    $510.00 National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Strasburger & Price                    Dallas, TX         217     $690.00    $290.00     $435.00   $365.00   $210.00   $270.00   $475.00   $300.00    $690.00 National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report
    2014 Stroock & Stroock & Lavan              New York, NY       285    $1125.00    $675.00     $960.00   $840.00   $350.00   $549.00   $979.00   $745.00   $1095.00 National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                               city of the firm’s largest U.S.
                                                                                                                                                                                               office as listed in the 2014
                                                                                                                                                                                               NLJ 350 report




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    2014 Taft Stettinius & Hollister              Cincinnati, OH       357     $535.00    $285.00    $415.00   $475.00   $200.00   $285.00                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                          December 2014           attorneys at the firm and the
                                                                                                                                                                                  city of the firm’s largest U.S.
                                                                                                                                                                                  office as listed in the 2014
                                                                                                                                                                                  NLJ 350 report
    2014 Thompson & Knight                        Dallas, TX           290     $740.00    $425.00    $535.00   $610.00   $240.00   $370.00                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                          December 2014           attorneys at the firm and the
                                                                                                                                                                                  city of the firm’s largest U.S.
                                                                                                                                                                                  office as listed in the 2014
                                                                                                                                                                                  NLJ 350 report
    2014 Thompson Coburn                          St. Louis, MO        317     $510.00    $330.00    $440.00   $350.00   $220.00   $270.00                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                          December 2014           attorneys at the firm and the
                                                                                                                                                                                  city of the firm’s largest U.S.
                                                                                                                                                                                  office as listed in the 2014
                                                                                                                                                                                  NLJ 350 report
    2014 Troutman Sanders                         Atlanta, GA          567     $975.00    $400.00    $620.00   $570.00   $245.00   $340.00                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                          December 2014           attorneys at the firm and the
                                                                                                                                                                                  city of the firm’s largest U.S.
                                                                                                                                                                                  office as listed in the 2014
                                                                                                                                                                                  NLJ 350 report
    2014 Ulmer & Berne                            Cleveland, OH        178     $415.00    $315.00    $380.00                                              National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                          December 2014           attorneys at the firm and the
                                                                                                                                                                                  city of the firm’s largest U.S.
                                                                                                                                                                                  office as listed in the 2014
                                                                                                                                                                                  NLJ 350 report
    2014 Varnum                                   Grand Rapids, MI     133     $465.00    $290.00    $390.00                                              National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                          December 2014           attorneys at the firm and the
                                                                                                                                                                                  city of the firm’s largest U.S.
                                                                                                                                                                                  office as listed in the 2014
                                                                                                                                                                                  NLJ 350 report
    2014 Venable                                  Washington, DC       533    $1075.00    $470.00    $660.00   $575.00   $295.00   $430.00                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                          December 2014           attorneys at the firm and the
                                                                                                                                                                                  city of the firm’s largest U.S.
                                                                                                                                                                                  office as listed in the 2014
                                                                                                                                                                                  NLJ 350 report
    2014 Vinson & Elkins                          Houston, TX          650     $770.00    $475.00    $600.00   $565.00   $275.00   $390.00                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                          December 2014           attorneys at the firm and the
                                                                                                                                                                                  city of the firm’s largest U.S.
                                                                                                                                                                                  office as listed in the 2014
                                                                                                                                                                                  NLJ 350 report
    2014 Waller Lansden Dortch &                  Nashville, TN        178     $600.00    $350.00    $460.00   $335.00   $190.00   $245.00                National Law Journal,   Full-time equivalent (FTE)
         Davis                                                                                                                                            December 2014           attorneys at the firm and the
                                                                                                                                                                                  city of the firm’s largest U.S.
                                                                                                                                                                                  office as listed in the 2014
                                                                                                                                                                                  NLJ 350 report
    2014 Weil, Gotshal & Manges                   New York, NY         1157   $1075.00    $625.00    $930.00   $790.00   $300.00   $600.00                National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                          December 2014           attorneys at the firm and the
                                                                                                                                                                                  city of the firm’s largest U.S.
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    2014 White & Case                            New York, NY        1895   $1050.00    $700.00    $875.00   $1050.00   $220.00   $525.00               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                NLJ 350 report
    2014 Wiley Rein                              Washington, DC      277     $950.00    $550.00    $665.00    $535.00   $320.00   $445.00               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                NLJ 350 report
    2014 Williams Mullen                         Richmond, VA        233     $410.00    $360.00    $385.00    $350.00   $260.00   $295.00               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                NLJ 350 report
    2014 Willkie Farr & Gallagher                New York, NY        526    $1090.00    $790.00    $950.00    $790.00   $350.00   $580.00               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                NLJ 350 report
    2014 Wilmer Cutler Pickering Hale            Washington, DC      988    $1250.00    $735.00    $905.00    $695.00    $75.00   $290.00               National Law Journal,   Full-time equivalent (FTE)
         and Dorr                                                                                                                                       December 2014           attorneys at the firm and the
                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                NLJ 350 report
    2014 Winston & Strawn                        Chicago, IL         822     $995.00    $650.00    $800.00    $590.00   $425.00   $520.00               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                NLJ 350 report
    2014 Wolff & Samson                          West Orange, NJ     125     $450.00    $325.00    $400.00    $450.00   $225.00   $340.00               National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                NLJ 350 report
    2014 Womble Carlyle Sandridge &              Winston-Salem,      492     $640.00    $470.00    $554.00                                              National Law Journal,   Full-time equivalent (FTE)
         Rice                                    NC                                                                                                     December 2014           attorneys at the firm and the
                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                NLJ 350 report
    2014 Wyatt Tarrant & Combs                   Louisville, KY      202     $500.00    $280.00    $418.00                                              National Law Journal,   Full-time equivalent (FTE)
                                                                                                                                                        December 2014           attorneys at the firm and the
                                                                                                                                                                                city of the firm’s largest U.S.
                                                                                                                                                                                office as listed in the 2014
                                                                                                                                                                                NLJ 350 report



2014 Associate Class Billing Survey




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                     EXHIBIT 3
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                             COHELAN KHOURY SINGER                                 #348

                                       Litigation Costs
                                       Vasquez v. Kraft
                                           2/4/2020

    Date               Payee                               Details                  Amount
9/11/2016    One Legal                Complaint - Filing/Complex Fee                 $1,435.00
9/11/2016    One Legal                Complaint - Efile                                 $47.26
10/6/2016    Ace Attorney Service     S&C                                               $59.13
10/17/2016   One Legal                POS                                                $9.95
1/25/2017    Hotel.com                Hotel for Client SD (Depo.)                     $247.18
1/30/2017    Janine Menhennet         Depo Prep. Dinner, Client Parking, Lunch        $287.01
3/8/2017     Centext Legal Services   Transcript: E. Vasquez                          $692.10
2/22/2018    Kraft Heinz Foods        Electronic Discovery                           $4,063.63
3/6/2018     Janine Menhennet         Amtrack, Lyfts, Meal (Depo)                     $129.25
4/10/2018    Economists Inc.          Consultant (50%)                              $21,242.75
5/9/2018     Arriva Translations      Spanish Interpreting (Depositions)             $3,253.00
5/10/2018    Janine Menhennet         Deposition parking                                $24.00
5/29/2018    Veritext                 Deposition Transcripts (50%)                   $3,683.97
3/17/2019    Southwest Air            MDS OAK SW - Mediation                          $539.94
3/17/2019    Southwest Air            ICK OAK SW - Mediation                          $539.94
7/27/2018    Express Network          Notice - Court Services                           $44.50
10/23/2018   Jeffrey Ross             Mediation Fee                                  $3,000.00
4/3/2019     Michael Singer           Hotel, Prkg @Airport, Uber, Meal (SF)           $505.23
4/12/2019    Isam Khoury              Hotel, Meal, Uber to Airport, Cab (SF)          $422.93
6/11/2019    Express Network          Court Services                                    $55.00
6/17/2019    Express Network          Court Services                                    $55.00
6/21/2019    Express Network          Court Services                                    $58.00
             In House                 Photocopies (3,366@.25 per page)                $841.50
             In House                 Postage                                         $502.89
             In House                 Facsimile (@1.00)                                  $0.00
             s/t                                                                   $41,739.16
5/4/2017     Sahag Majarian           Co-Counsel Cost Contribution                  -$1,063.55
7/9/2018     Sahag Majarian           Co-Counsel Cost Contribution                 -$14,279.69
             Kraft Total:                                                          $26,395.92

3/13/2019    Kraft - PAGA             Costs                                          $1,270.00
                                                                     TOTAL COSTS   $27,665.92




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                     EXHIBIT 4
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                                               COHELAN KHOURY & SINGER
                                                   A PARTNERSHIP OF PROFESSIONAL LAW CORPORATIONS


TIMOTHY D. COHELAN, * APLC                                   ATTORNEYS AT LAW                       JEFF GERACI ∆
ISAM C. KHOURY, APC                                                                                 J. JASON HILL†
DIANA M. KHOURY, APC                                    605 “C” STREET, SUITE 200                   MARTA MANUS
MICHAEL D. SINGER, •APLC                            SAN DIEGO, CALIFORNIA 92101-5305                KRISTINA DE LA ROSA

(*Also admitted in the District of Columbia)
                                                         Telephone: (619) 595-3001
(•Also admitted in Colorado)                              Facsimile: (619) 595-3000                 († Also admitted in Illinois)
                                                                 www.ckslaw.com                     (∆ Of Counsel)




                    TIMOTHY D. COHELAN and ISAM C. KHOURY are the founding partners
            of COHELAN KHOURY & SINGER, a civil litigation firm established in 1981. Since
            1987, Cohelan Khoury & Singer has specialized in class action cases and has been
            certified as class counsel and lead counsel in numerous state and federal court cases
            throughout the United States. The firm has successfully prosecuted well over 150 class
            action cases representing diverse groups of victims, including urban homeless entitled to
            emergency shelter; victims of a national health insurance fraud scheme; retirees entitled
            to pension benefits; defrauded investors; consumers; and workers entitled to back wages.
            Cohelan Khoury & Singer’s diverse practice currently includes representation of, among
            others, employees contesting wage and hour violations as well as consumers battling
            unfair business practices.

                   Cohelan Khoury & Singer has a broad array of experience in prosecuting class
            action cases. The firm has successfully achieved a landmark California Supreme Court
            reversal of a court of appeal reversal of a trial court grant of certification affecting over
            100,000 workers in Brinker Restaurant Corp. v. Super. Ct. (2012) 53 Cal.4th 1004, as
            well as a groundbreaking reversal of a class certification denial in Hicks v. Kaufman
            and Broad (2001) 89 Cal.App.4th 908. Cohelan Khoury & Singer has also
            achieved statewide recognition for pro bono public interest work including successful
            cases prosecuted on behalf of homeless persons in Hoffmaster v. City of San Diego
            (1997) 55 Cal.App.4th 1098.

                    Cohelan Khoury & Singer’s public interest work has been recognized in numerous
            cases including that of United States District Court Judge Milton Pollack, a Senior United
            States District Court Judge for the Southern District of New York, who has publicly
            stated that he had “seen no similar indication of a public service rendered by any group of
            lawyers in all the years I have practiced law myself, which is for 38, or the 27 years that I
            have been on the bench.” Judge Pollack’s comments came in connection with a class
            action case brought on behalf of thousands of victims of health insurance fraud across the
            nation.

                   The firm has substantial trial experience in class action, representative, and
            complex litigation, as well as individual matters. Cohelan Khoury & Singer is one of a
            handful of firms to have tried class action wage and hour cases, including an independent
            contractor misclassification action on behalf of newspaper carriers against the Orange
            County Register and an action for unpaid wages, wage deductions, and expense
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    reimbursements on behalf of a certified class of truckers and appliance installation
    helpers. The firm also tried to judgment a certified case against the State of Hawaii Child
    Support Enforcement Agency for wrongful retention of child support monies. The agency
    was ordered to conduct an accounting and pay the funds to the custodial parents. The firm
    has also represented large numbers of individuals collectively for construction defect
    claims and major investment frauds, recovering monies related to cracked slab
    foundations and defrauded investors of Ponzi schemes.

           Cohelan Khoury & Singer has certified classes in heavily contested hearings
    against the following entities:

          1.     Atlantic Richfield Corporation, Chevron Corporation, Exxon Corporation,
                 Mobil Oil Corporation, Shell Oil Company, Texaco, Inc., Tosco
                 Corporation, Ultramar Corporation, and Unocal Corporation
          2.     Empire Blue Cross/Blue Shield
          3.     Pioneer Mortgage
          4.     Liebert Corporation
          5.     PaineWebber, Inc.
          6.     Dayton Hudson Corp.
          7.     Chartwell Financial
          8.     Cal Fed, Inc.
          9.     Jones, American Thrift
          10.    Service Technicians, Inc.
          11.    Kaufman & Broad
          12.    Washington Mutual Bank
          13.    Albertson’s, Inc.
          14.    Wells Fargo Home Mortgage, Inc.
          15.    Brinker Restaurant Corporation
          16.    FedEx Ground Package System
          17.    Ethan Allen, Inc.
          18.    State of Hawaii Child Support Enforcement Agency
          19.    Victoria Apartments
          20.    AT&T Wireless Services, Inc.
          21.    Farmers Insurance Company
          22.    City of San Diego
          23.    Lewis Homes of California
          24.    Freedom Communications, Inc. d/b/a The Orange County Register
          25.    California Pizza Kitchen
          26.    Raytheon Company
          27.    Les Schwab Tire Centers of California, Inc.
          28.    Catholic Healthcare West
          29.    Kaiser Foundation Hospitals
          30.    Penske Logistics and Penske Truck Leasing
          31.    Conair
          32.    Container Connection of Southern California
          33.    Ashley Furniture/Stoneledge Furniture
          34.    Save Mart Supermarkets
          35.    PICO Enterprises, Inc. dba Phyle Inventory Control Specialist and PICS
          36.    Certified Class Counsel well over 100 settlement classes



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           Cohelan Khoury & Singer has obtained numerous verdicts, judgments, or
    settlements since September 1993. Listed below are examples of cases the firm has
    played a central role in the resolution of and which have received final approval by the
    Court:
          •      Bennett v. Countrywide, San Diego Superior Court, Case No. GIC840981
                 [expense reimbursement claim by commission employees];
          •      Evans v. Washington Mutual Bank, Orange County Superior Court Case
                 No. 02CC15415 [expense reimbursement and wage deduction claim by
                 commission employees];
          •      Gonzalez, et al. v. Freedom Communications, Inc. d/b/a The Orange
                 County Register, Orange County Superior Court Case No. 03CC08756
                 [home delivery carriers misclassified as “independent contractors”];
          •      Aravena v. Cisco Systems, Inc., Orange County Superior Court Case No.
                 07CC01367 [OT misclassification claim by IT employees];
          •      Venturini v. Genentech, Inc., San Francisco Superior Court Case No. CGC-
                 09-492494 [OT misclassification claim by IT employees];
          •      Durrani v. Western Digital Corporation, et al., Orange County Superior
                 Court Case No. 30-2009-00268212 [OT misclassification claim by IT
                 Employees];
          •      Watson v. Raytheon Company, United States District Court, Southern
                 District of California Case No. 10CV0634 [Ot misclassification claim by IT
                 employees];
          •      Bills v. Sutter Health, Alameda Superior Court Case No. RG09465894 [Ot
                 misclassification claim by IT employees];
          •      Smith v. California Pizza Kitchen, San Diego Superior Court Case No. 37-
                 2008-00083992 [OT misclassification claims by managers and assistant
                 managers];
          •      Dunn v. The Kroger Company, et al., Los Angeles Superior Court Case No.
                 Case No. BC323252 [meal and rest break claims];
          •      Gallen v. Gambro Healthcare, Inc., Orange County Superior Court Case
                 No. 04CC00571 [OT claims by nurses];
          •      Hohnbaum, et al. v. Brinker Restaurant Corp., San Diego Superior Court
                 Case No. GIC834348 [meal and rest break claims];
          •      Liberty Mutual Overtime Cases, Los Angeles Superior Court Case No.
                 J.C.C.P. 4234 [OT misclassification of Insurance Claims Handlers];
          •      Leisinger-Reed, et al. v. Equinox Holdings, Inc., et al., Los Angeles
                 Superior Court Case No. BC481860 [unpaid wages, and meal and rest
                 break claims by massage therapists, estheticians, and nail technicians];
          •      Rite Aid Wage and Hour Cases, Los Angeles Superior Court Case No.
                 J.C.C.P. 4583 [OT, Meal and Rest Period Claims by Pharmacists]
          •      Djukich v. Carwell, LLC, Unites States District Court, Central District of
                 California Case No. 13CV4455 BRO [unpaid wages claims by automotive
                 technicians];

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          •      Laureano, Jr. et al. v. The Art of Shaving-FL, LLC, Los Angeles Superior
                 Court Case No. BC550093 [meal and rest break and overtime claims by
                 non-exempt employees];
          •      Martinez v. Alameda Health System, Alameda Superior Court Case No.
                 RG14719205 [unpaid wages by non-exempt employees];
          •      Freeman v. Coast to Coast Manpower, LLC, Los Angeles Superior Court
                 Case No. BC543709 [unpaid wages, meal and rest break, and vacation pay
                 claims by truck drivers];
          •      Morales v. The Los Angeles Country Club, Los Angeles Superior Court
                 Case No. BC566493 [unpaid wages, meal and rest break, reporting and split
                 shift pay, expense reimbursement and improper wage deductions claims by
                 non-exempt employees];
          •      Bradley v. Safe Haven Security Services, Inc., San Diego Superior Court
                 Case No. 37-2015-00019576-CU-OE-CTL [expense reimbursement and
                 wage statement claims by Sales Representatives]; and
          •      Czuchaj, et al. v. Conair Corporation, United States District Court,
                 Southern District of California Case No. 13CV1901 BEN (RBB) [implied
                 warranty of merchantability of certain models of hair dryers], among
                 others.

   TIMOTHY D. COHELAN, Founding Partner, author of Cohelan on California Class
   Actions (Thomson Reuters, 1997-2019, updated annually), is the son of the late
   Jeffery Cohelan, former California Congressman. He is a 1974 graduate of California
   Western School of Law, where he was a law review editor. Mr. Cohelan served as an
   Officer in the U.S. Navy from 1968 to 1971 and received a B.A. from the University of
   Arizona in 1967. Mr. Cohelan was admitted to the State Bar of California in 1974, and
   was admitted to the Bar in the District of Columbia in 1996. He also served as the
   Chairman of the San Diego Coast Regional Commission from 1978 to 1981. From 1982
   to 2006, Mr. Cohelan served the San Diego Superior Court as a Judge Pro Tem, hearing
   and ruling on hundreds of matters during his service.

           Timothy Cohelan was named a “California Lawyer of the Year” by California
    Lawyer Magazine (Clay Award) in 1996. Mr. Cohelan’s memberships include former
    member of the Board of Governors of the Association of Business Trial Lawyers for San
    Diego County, member of the American Bar Association and the Consumer Attorneys of
    California and San Diego County Bar Association. His main areas of practice include
    class action, civil, wage and hour and antitrust cases.

           Mr. Cohelan served as the Chair of San Diego Volunteer Lawyer Program, a non-
    profit successor of Legal Aid, from 2015 through 2018 and currently sits on the Board
    as past Chair. As an advocate for the homeless, Mr. Cohelan received San Diego
    County Bar Association honors for community service in connection with his work on
    behalf of SDVLP on an important class action case impacting homeless shelter locations.


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           ISAM C. KHOURY, Founding Partner, is a 1970 graduate of the University of
    California at San Diego and received a law degree from Hastings School of Law in 1973.
    Mr. Khoury is a member of the State Bar of California, admitted in 1974, the San Diego
    County Bar Association, Consumer Attorneys of San Diego and Consumer Attorneys of
    California. He has successfully litigated numerous complex civil matters to verdict, jury
    and non-jury. His main areas of practice include civil tort litigation, personal injury,
    business torts, antitrust and class action cases.

           In recent years, Mr. Khoury has emphasized wage and hour class action matters
   having assisted in the litigation to judgement or settlement of over 150 wage and hour
   class actions. The Southern California Super Lawyers Magazine has selected Mr. Khoury
   as a southern California/San Diego Super lawyer for the years 2011 through 2017. He has
   been approved as a CLE lecturer and has participated in seminars on class action wage
   and hour issues, the complexities of mediation, and the procedural requirements involved
   in class action settlements. He has argued appeals and been co-counsel in several matters
   of major import including California Supreme Court decisions including the Brinker
   decision clarifying California meal and rest break requirements and Harris v Liberty
   Mutual which defined parameters for the use of the administrative exemption.

           MICHAEL D. SINGER, Managing Partner, is a 1984 graduate of U.C. Hastings
    Law School. He graduated magna cum laude from San Francisco State University in
    1980 with a B.A. in English. He was admitted to the State Bar of California in 1984 and
    the State Bar of Colorado in 2001. For over thirteen years, he served as co-chair and
    liaison to the California Employment Lawyers Association (CELA). He is a member
    of the San Diego County Bar Association. He is the author of the opening chapter
    overview on California wage and hour law and PAGA Claim chapter in California Wage
    and Hour Law: Compliance and Litigation (CEB 2010-2019). He was named to the
    Daily Journal 2012, 2013 and 2018 list of the Top California Labor and Employment
    Attorneys. Mr. Singer serves on the Legal Aid at Work Board of Directors. His main
    areas of practice include employment wage and hour, consumer, and unfair competition
    class actions and appellate practice.

            Mr. Singer regularly contributes amicus curiae briefs on c l a s s a c t i o n a n d
    employment issues in the California Supreme Court and Courts of Appeal. In his
    capacity as Amicus lesion for CELA, he coordinated, drafted or co-drafted amicus
    letters and briefs on a wide range of labor law issues in the rapidly developing
    decisional law, supporting Review in the Supreme Court, and publication or
    depublication of Court of Appeal decisions in the following cases since January 1,
    2008: Chindarah v. Pick up Stix, 171 Cal. App. 4th 796 (2009), California Superior
    Court Case No. S171864 [regarding propriety under Labor Code section 206.5 and
    California Rules of Court of settling with absent class members without court
    supervision prior to class certification] (Supporting Petition for Review; Review
    Denied); Lu v Hawaiian Gardens Casino, California Supreme Court Case No. S171442
    [whether a private cause of action exists under the Labor Code for tip pooling

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    violations](Review Granted); Brinkley v Public Storage, 198 P.3d 1087 (2009),
    California Supreme Court Case No. S168806 [denying class certification of rest and
    meal period claims](Review Granted); Estrada v. Fedex Ground Package System, 154
    Cal. App. 4th 1 (2007), California Supreme Court Case No. S156595 [judgment finding
    drivers entitled to expense reimbursement] (supporting opposition to Review; Review
    denied); Group Brewer v Premier Golf, 168 Cal. App. 4th 1243 (2008), California
    Supreme Court Case No. 169666 [holding punitive damages unavailable in
    connection with wage claims] (supporting Petition for Review; Review Denied);
    Christler v. Express Messenger, California Supreme Court Case No. S171439 [jury
    verdict finding employees independent contractors] (supporting Petition for
    Review; Review Denied); Watkins v. Wachovia, 172 Cal. App. 4th 1576 (2009),
    California Court of Appeal Case No. B199982 [affirming dismissal of appeal following
    denial of class certification based on employee severance agreement resolving claims]
    (depublication request pending); Ghazaryan v. Diva Limousine, 169 Cal. App. 4th 1524
    (2008), California Court of Appeal Case No. B201509 [reversing class certification
    denial] (publication request granted); Bufil v Dollar Financial Group, 162 Cal. App. 4th
    1193 (2008), California Court of Appeal Case No. A118143 [reversing certification
    denial of meal period claims applying collateral estoppels] (publication request granted);
    Kurian v. U.S. Mortgage Capital, California Court of Appeal Case No. B201013
    [regarding propriety of wage compromises under Labor Code section 206.5] (publication
    request denied); BCBG Overtime Cases, 163 Cal. App. 4th 1293 (2008), California
    Supreme Court Case No. S165348 [propriety of defendant bringing preemptive motion to
    deny class certification] (depublication request denied); Kenny v Supercuts, 252 F.R.D.
    641 (2008), United State District Court Case No. C 06-07521 CRB; Salazar v Avis, 251
    F.R.D. 529 (2008), United State District Court Case No. 07-CV-0064-IEG-WMC
    [denying certification of rest and meal period claims] (request that 9th Circuit Court of
    Appeals certify question to the California Supreme Court denied); and Methodist
    Hospital v Superior Court, California Court of Appeal Case No. B208295 [ruling a
    private right of action exists for rest and meal period claims under Labor Code section
    226.7] (supporting opposition to Petition for Writ; Writ denied), among many others.

            Mr. Singer is a contributor to the Los Angeles Daily Journal, having authored
    articles on the California Court of Appeal decision in Parris v. Superior Court regarding
    communications with absent class members (May, 2003), SB 796 (Dunn, D-Garden
    Grove), California’s Private Attorneys General Law providing employees a private right
    of action against employers for civil penalties under the Labor Code (October 2003), the
    California Court of Appeal decision in Bell v. Farmers Ins. Exch. and its guidance for the
    use of statistical sampling and extrapolation to prove aggregate class-wide damages
    (February 2004), and the then-pending Supreme Court decision regarding Sav-On and
    Overtime Class Suits.

           He is an MCLE lecturer on class action procedure and wage and hour issues and
    has argued appeals in the Second, Third, and Ninth Federal Circuit Courts of Appeals, as


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    well as the Second and Fourth California District Courts of Appeal. Published decisions
    include Hicks v. Kaufman and Broad Home Corp. (2001) 89 Cal.App.4th 908 (reversing
    the denial of certification of a class of home buyers for construction defects); Hicks v.
    Superior Court (2004) 115 Cal.App.4th 77 (challenging implied construction warranty
    disclaimers); Federal Home Loan Mortgage Corp. v. La Conchita Ranch Co. (1998) 68
    Cal.App.4th 856 (defending challenge to attorney disqualification); and Save Our NTC,
    Inc. v. City of San Diego (2003) 105 Cal.App.4th 285 (challenging private development
    of former naval training center). He also contributed to the briefing of Aguilar v. Atlantic
    Richfield, et al. (2001) 25 Cal.4th 826 (summary judgment of antitrust claim of certified
    class of 20 million California drivers). He is one of the very few attorneys in the State of
    California to have tried a wage and hour class action involving contested procedures
    regarding the use of sampled and statistical evidence.

           DIANA M. KHOURY, Partner, received a law degree from Western State
    University in 1986 and is a graduate of San Diego State University, where she received
    her Bachelors of Science degree in 1975. She is a member of the State Bar of California,
    admitted in 1987. Since admission to the bar, Ms. Khoury has been a member of the San
    Diego County Bar Association, Consumer Attorneys of San Diego, Consumer Attorneys
    of California, American Bar Association and the American Association of Justice. From
    2010 through 2016, Ms. Khoury served on the Board of Directors for Consumer
    Attorneys of San Diego. Since 2013, Ms. Khoury has served on the Board of Directors
    for the San Diego County Bar Foundation, (“SDCBF”), the 501(c) (3) charitable arm of
    the San Diego County Bar Association. Ms. Khoury has been selected by her peers based
    on ethics, experience and reputation as a “Super Lawyer” in Civil Litigation from 2010
    through the present by the Southern California Super Lawyers Magazine, and is also AV-
    Preeminent rated by Martindale –Hubbell, the highest possible rating for a lawyer.

            Upon being admitted to the State Bar of California, a major focus of Ms. Khoury’s
    practice has been on consumer rights litigation, and has included civil tort litigation,
    personal injury, and business torts. Throughout her career, she has taken numerous jury
    trials to verdict. She has been a lecturer for Mandatory Continuing Legal Education
    regarding class actions. Ms. Khoury currently represents employees in wage and hour
    class actions, where her recognized specialty is class action resolution.

           JEFF GERACI, Partner, is a 1982 graduate of Pitzer College with a degree in
    Sociology. He is a 1990 graduate of the University of San Diego School of Law, and has
    practiced employment law for over seventeen years. He has handled matters in California
    state and federal trial and appellate courts, and before many administrative agencies,
    including the California Division of Labor Standards Enforcement, the Department of
    Fair Employment and Housing, the Equal Employment Opportunity Commission, the
    California State Personnel Board, the California Board of Psychology, and the California
    State Commission for Teacher Credentialing.



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           Mr. Geraci has provided counseling and representation in all areas of employment
    law, including wrongful termination, employment discrimination, sexual harassment, and
    wage and hour laws. His practice is now focused on class actions, including wage and
    hour class action litigation and consumer actions.

          Mr. Geraci’s published decisions include McAlindin v. County of San Diego
    (1999) 192 F.3d 1226 [reversing summary judgment in a disability discrimination case]
    and Araiza v. National Steel and Shipbuilding (S.D. Cal. 1997) 973 F. Supp. 963
    [denying mandatory arbitration of employment claims under a collective arbitration
    agreement].

           Mr. Geraci is a member of the Labor and Employment Law sections of the
    California and San Diego County Bar Associations, and has served as Editor of the
    Employment Law column for the Consumer Attorneys of San Diego monthly publication,
    Trial Bar News. He is a past recipient of the Wiley W. Manuel Award for Pro Bono
    Service.

           J. JASON HILL, Partner, is a 1992 graduate of the University of Illinois at
    Urbana-Champaign and holds a B.A. in Philosophy, Political Science and
    Communications. In 1995, he received his J.D. degree from California Western School of
    Law, where he was a member of the Law Review an International Law Journal, as well as
    editor of the Telecommunications Law Forum. Currently, Mr. Hill is admitted to the bar
    in both California and Illinois, and is a broker licensed by the California Department of
    Real Estate. He maintains memberships not only with the San Diego County Bar
    Association, but also the National Association of Realtors, the California Association of
    Realtors and the San Diego Association of Realtors.

            Prior to joining Cohelan Khoury & Singer, Hill represented large institutional
    clients in a variety of civil litigation settings, including insurance coverage, employment
    law, health care law, general and professional liability, as well as, premises and product
    liability claims. He has particular emphasis on all aspects of professional liability claims
    in a healthcare setting, as well as claims brought pursuant to the Emergency Medical
    Treatment and Active Labor Act (EMTALA) and the Elder Abuse and Dependent Adult
    Civil Protections Act (EADACPA). Mr. Hill is also an accomplished appellate
    practitioner and has briefed and/or argued over 40 matters in both state and federal courts
    of appeal, yielding several published decisions on a range of legal issues.

          MARTA MANUS, Attorney, is a 2008 graduate of California Western School of
    Law. She graduated with honors and received a Bachelor of Arts in Psychology from
    California State University Northridge. Ms. Manus has been a member of the State Bar of
    California since her admission in December 2008. She has practiced before all District
    Courts in the state of California as well as the Fourth District Court of Appeal and the
    U.S. Court of Appeals for the Ninth Circuit.

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    Ms. Manus has been successfully litigating employment law cases for nearly a decade,
    representing employees in all aspects of labor and employment law matters, including
    employment discrimination, wrongful termination, retaliation, and wage and hour class
    action lawsuits. Her practice focuses primarily on employee-side wage and hour class
    actions. Ms. Manus is a member of the Labor and Employment Law sections of the
    California and San Diego Bar Associations as well as the Federal Bar Association. Ms.
    Manus was recognized by San Diego Super Lawyers as a Rising Star in 2015, 2016, and
    2017.

          KRISTINA DE LA ROSA, Attorney, was born and raised in San Diego. She
    graduated from UC San Diego in 2006 with a B.A. in Psychology, where she was also a
    4- year member of the Women’s NCAA intercollegiate soccer team. She received her law
    degree from Santa Clara Law School in 2011 and was admitted to the California State
    Bar in the same year.

    During law school, she interned for Equal Rights Advocates, the ACLU of Southern
    California, and externed for the Hon. John F. Herlihy (Ret.). She volunteered for the
    Katherine and George Alexander Community Law Center Workers’ Rights workshops
    and earned the Witkin Award for Excellence and the Richard S. Rosenberg Prize for
    Excellence in Labor Law. Immediately after passing the bar, she began representing
    employees in class action wage and hour litigation. She also volunteered for the
    California Rural Legal Assistance, Inc., assisting farm workers with filing wage and
    worker’s compensation claims. Ms. De La Rosa remains committed to protecting
    employee rights and represents employees and consumers in class and collective actions
    across California, helping them recover millions of dollars in unpaid wages, restitution
    and penalties. Ms. De La Rosa is a member of CELA.




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